               Case 8-18-76800-ast                  Doc 13     Filed 10/26/18        Entered 10/26/18 14:44:25



 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
' ---------------------------------------------------x
 In re:                                                                                             Case No~/~~(,~             OO
                                                                                                                                      . ~s+
                                   .                                                                Chapter.~

      "' " A' f\ l I\    <{'(\(}.._ \[ l(j.._\/VJ
      c.., v , 'i vv \                                  Debtor(s)
 -        --------------------- ----------------------x

                                  AFFIDAVIT PURSUANT TO LOCAL RULE 1007-l{b)


           . .,Q~e_YJ~Y\;~Y--ru~~(},_'f~\~(l~y\,,_O_____.; undersigned debtor herein, swears as follo~J
     1. Debtor filed a petition under chapter
                     11 ....
                                                      7r"   of the Bankruptcy G9bl.e on
                            J.fDU1~to1, io~~lh~1e-&, ,t/t}/76b])e.,--c~.
                                                                                                  l
                                                                                          l DlCPO\ ft:,
                                                                                            ~+-'----":c___ _ _ __

     2; Schedule(s) 11 .· ) ·           were not filea at the time of filing of the said petition, and is/are being filed herewith.

     3.     [Check applicable box]:

           •    The schedules filed herewith reflect no additions or corrections to, or deletions from, list of creditors which
                7panied the petition.

           ~nnexed hereto is a listing of names and addresses of scheduled creditors added to or deleted from the list of
             creditors which accompanied the petition. Also listed, as applicable, are any scheduled creditors whose
             previously listed names and/or addresses have been corrected. The nature of the change (addition, deletion or
             correction) is indicated for each creditor listed.

     1.     [If creditors have been added] An amended mailing matrix is annexed hereto, listed added creditors ONLY, in the
            format prescribed by E.D.N.Y LBR 1007-3.                                                       . .- · ,· - .-- -

     Reminder: No amendment of schedules is effective until proof of service in accordance with E.D.N. Y LBR 1009-
     1(b) has been flied with the Court.

     Any additions to the list of creditors which accompanied the petition will be deemed an amendment to the list, if this
     amendment is filed prior to the expiration of the tirile period set forth in Fed. R. Bankr. P. 4004 and 4007, it will be
     deemed to constitute a motion for a 30-day extension of the time within any added creditors may file a complaint to
     object to the discharge of the debtor and/or to detetrnine dischargeability. The motion will be deemed granted without
     a hearing ifno objection is filed with the Court and served on debtor within 14 days following filing of proofof
     service of this affirmation, all attachments and the amended schedules in accordance with E.D.N.Y LBR 1009-1.

of Dated: \0~'26 lt l,                                                                     _-=-~l~L~----
                                                                                           Debtor (signature)


     Sworn to before me this _ __
     Day of _ _ _ _ _ _ _, 20_ _


     Notary Public, State of New York




                                                                                                                        Rev. 12/16
                       Case 8-18-76800-ast                            Doc 13               Filed 10/26/18                     Entered 10/26/18 14:44:25




 Fill in this information to identify your case:

                                                                                            l.
 Debtor 1             Frenny                                                          Mariano
                      First Name                     Middle Name                      Last NSlme

 Debtor2
 (Spouse. iffiling)   First Name                     Middle Name                      Last Name


 United States Bankruptcy Court for the: Eastern District of New York

 Case number          8-18-76800-ast
                      (If known)




Official Form 106Sum
Summary of Your Assets and Liabiliti~s and Certain Statistical
Be as complete and accurate as possible. If two married people ~,re filing together, both are equally responsible fo~;;upplying co~Elff_ ?;i~
information. Fill out all of your schedules first; then complete the information on this form. If you are filing ameridecl schedull)S aftei''y<iti file
your original forms, you must fill out a new Summary and check the box at the top of this page.                                 1_,~J          __ ,



               Summarize Your Assets

                                                                                                                                                                             .,.   ,,,           -    -, --
                                                                                                                                                                                                          "        ,,.

                                                                                                                                                                         [Your assets:
                                                                                                                                                                         !value of wha~ you
                                                                                                                                                                         i._ _______ - _____ ......__ -
                                                                                                                                                                                                               o~n •
                                                                                                                                                                                                              ·-- - '. !.

1. Schedule AIB: Property (Official Form 106NB)
    1a. Copy line 55, Total real estate, from Schedule A/8 ................... ,......................................................................................             $             400,000.00


    1b. Copy line 62, Total personal property, from Schedule A/8 ........ :......................................................................................                  $ _ _2_0~,6_0_0._00_


    1c. Copy line 63, Total of all property on Schedule AIB .........................................................................................................                            420,600.00
                                                                                                                                                                                   $



               Summarize Your Liabilities

                                                                                                                                                                         r·- - -         -     -- -       ·- ---
                                                                                                                                                                         ! Your liabilities
                                                                                                                                                                         J    Amount you·owe                                  ,
                                                                                            i                                                                            I                   ••• - - - - -    •••        ~-·--!

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the ~ottom of the last page of Part 1 of Schedule D .......... ..                                               $             304,417.35

3. Schedule EIF: Creditors Who Have Unsecured Claims (Official Fo~m 106E/F)
                                                                                                                                                                                   $ _ _ _4_7_7._58_
    3a. Copy the total claims from Part 1 (priority unsecured claims) fr9m line 6e of Schedule E/F .......................................... ..
                                                                                            i
    3b. Copy the total claims from Part 2 (nonpriority unsecured claim~) from line 6j of Schedule EIF ..................................... ..
                                                                                                                                                                              +    $ --~6_,_7_58_._13~.

                                                                                                                                                                                                      '
                                                                                                                                        Your total liabilities                      $            341,653.06


               Summarize Your Income and Expenses

                                                                                                                                                                                                      i
4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                                                       14,541.68
                                                                                                                                                                                    $---
    Copy your combined monthly income from line 12 of Schedule 1..........................................................................................                               ---

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                     $ _ _5_,6_0_4._3_1




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                                 page 1 of2
                        Case 8-18-76800-ast                         Doc 13    Filed 10/26/18             Entered 10/26/18 14:44:25



 : Debtor 1        Frenny                                               Mariano                       Case number (it known)   8-18-76800-ast
                    First Name         Middle Name      Last Name




 -~    ---~        Answer These Questions for Administrative an~ Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       D No. You have nothing to report on this part of the form. Check ,this box and submit this form to the court with your other schedules.    '
       iiZI~                                                                  '
   7. What kind of debt do you have?                                          I

                                                                              i
       i ZI Your debts are primarily consumer debts. Consumer debts;are those "incurred by an individual primarily for a personal,
              family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
                                                                              I



       D Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.               !



   a. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 line 14.
                                                                                                                                           I•    7,687.741



                                                                                  I



   9. Copy the following special categories of claims from Part 4, li~e 6 of Schedule E/F:


                                                                                                           i
                                                                                                           I
                                                                                                                 Total claim
                                                                                                           l-

       :
       i From Part 4 on Schedule EIF, copy the following:
       L      -·

       9a. Domestic support obligations (Copy line 6a.)                                                          $                  0.00


       9b. Taxes and certain other debts you owe the government. (Copy, line 6b.)                                $               477.58

                                                                                      1

       9c. Claims for death or personaLinjury while you were intoxicated. (Copy line 6c.)                        $                  0.00


       9d. Student loans. (Copy line 6f.)                                                                        $                  0.00


       9e. Obligations arising out of a separation agreement or divorce that you did not report as               $                  0.00
           priority claims. (Copy line 6g.)

                                                                                      I

       9f. Debts to pension or profit-sharing plans, and other similar debt~. (Copy line 6h.)                   +$                  0.00

                                                                                                                                                      i
                                                                                                                                 477.58
       9g. Total. Add line!; 9a_ through 9f.
                                                                                                          I      $
                                                                                                                                           I          i
                                                                                                                                                      I
                                                                                                                                                      i
                                                                                                                                                      !      '
                                                                                                                                                      I

                                                                                                                                                      :
                                                                                                                                                      :
                                                                                                                                                      I

                                                                                                                                                      :




Official Form 106Sum             Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2 of2
                             Case 8-18-76800-ast                       Doc 13            Filed 10/26/18          Entered 10/26/18 14:44:25



    Fill in this information to identify your case and this filing:



; Debtor 1              ·Frenny                                                   Mari~no
                         First Name                 Middle Name                   Last Nam~

    Debtor2
    (Spouse, Wfiling)    First Name                 Middle Name                   Last Nam8


    United States Bankruptcy Court for the: Eastern District of New York

    Case number          8-18-76800-ast
                                                                                                                                                     D   Check if this is an
                                                                                                                                                         amended filing

[ Official Form 106A/B
I

: Schedule A/B: Property                                                                                                                                              12/15
I In each category, separately list and describe items. List an asse~ only once. If an asset fits in more than one category, list the asset in the
: category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
  responsible for supplying correct information. If more space is n~eded, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known). Answer every que~tion.
                                                                                          I
•:.,.,••-~         Describe Each Residence, Building, Land, or Ot~er Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any resid~nce, building, land, or similar property?
                                                                                          I
        D      No. Go to Part 2.
        liZI   Yes. Where is the property?
                                                                                                                            ,- .
                                                                         What is the: property? Check all that apply.
                                                                                                                            I Do not deduct secured claims or exemptions. Put
                                                                         riif    Single-f~mily home                         I the amount of any secured claims on Stheduie D: ·
                                                                                                                            I
                  149 Haig Rd                                                             I                                     Creditors Who Have Claims Secured by Property.
          1.1.
                 Street address, if available, or other description
                                                                         D       Duplex or multi-unit building
                                                                                                                            !
                                                                         D       Condominium or cooperative                     Current value of the     Current value of the
                                                                         D       Manufadtured or mobile home                    entire property?         portion you own?
                                                                         D       Land     ~                                     $- -400,000.00
                                                                                                                                     ----                $     400,000.00
                                                                         D       lnvestmJnt property
                  Valley Stream                   NY
                 City                            State     ZIP Code
                                                                         D                1
                                                                                 Timesha re                                     Describe the nature of your ownership
                                                                         D                \
                                                                                 Other__,.1_ _ _ _ _ _ _ _ _ _ __
                                                                                                                                interest (such as fee simple, tenancy by
                                                                                                                                the entireties, or a life estate), if known.
                                                                         Who has ari interest in the property? Check one.                                      I
                                                                                          I
                  United States                                          (iif Debtor 1 only
                 County                                                  D Debtor 2 hnly
                                                                         D Debtor 1 and Debtor 2 only                           D   Check if this is community property
                                                                                                                                            t
                                                                         D At least o ne of the debtors and another
                                                                                              1
                                                                                                                                    (see inS ructions)

                                                                         Other inforination you wish to add about this item, such as local
                                                                         property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __
        If you own or have more than one, list here:
                                                                                              '
                                                                                              I




                                                                        What is the ~roperty? Check all that apply.
                                                                                                                               Do not deduct secured claims or exemptions .. Put
                                                                        D       Single-faJily home                          '. the amount of any secured claimsion Schedule D:
                                                                                                                            ! Creditors Who Have Claims Secured by Property.
          1.2.
                 Street address, if available, or other description
                                                                        D       Duplex or;multi-unit building
                                                                        D    Condomin,ium or cooperative                        Current value of the     Current value of the
                                                                        D       ManufactJred or mobile home                     entire property?         porti6n you own?
                                                                        D       Land          :                                 $_ _ _ _ _ __
                                                                                                                                                         $-~-----:
                                                                        D       ln~estmeJt property
                                                                                                                                Describe the nature of your!ownership
                  City                           State      ZIP Code
                                                                        D       TimesharJ
                                                                                                                                interest (such as fee simple; tenancy by
                                                                        D       Other_-;-----~-------                           the entireties, or a life estate), if known.
                                                                                   i
                                                                        Who has an interest in the property? Check one.
                                                                        D Debtor 1 ohly
                  County                                                D Debtor 2 oply
                                                                        D Debtor 1 and Debtor 2 only                            D Check if this is community property
                                                                        D At least one of the debtors and another                   (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __
'--------------------------------·-·----~------·-----------------------~
    :
    I Official Form 106A/B                                               Schedule A/B: Property                                                                    page 1
                         Case 8-18-76800-ast                          Doc 13         Filed 10/26/18              Entered 10/26/18 14:44:25


 ,Debtor 1          Frenny                                                    Mariano                        Case number (if known)    8-18-76800-ast
                    First Name     Middle Name            Lest Name




                                                                                                                               I
                                                                      What is the property? Check all that apply.              ' Do not deduct secured claims or exemptions. Put
      1.3.
                                                                       D   Single-family ho~e                                  ! the amount of any sec.ured claims on Schedule D:
                                                                                      I                                        , Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description        D   Duplex or multi-unit building
                                                                       D   Condominium or cooperative                              Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                       D   Manufactu;ed or mobile home
                                                                                                                                   $_ _ _ _ _ __            $________,
                                                                       D   Land
                                                                       D   Investment property
             City                            State     ZIP Code        D   Timeshare:                                              Describe the nature of your ownership
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                       D   Other_~-----------                                      the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                       D Debtor 1 only
              County
                                                                       D Debtor 2 on:ly
                                                                       D Debtor 1 an'd Debtor 2 only                               D   Check if this is community property
                                                                                                                                       (see instructions)
                                                                       D At least on~ of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number: _ _ _ _ _ _ _ _ _ _ _ _ __


 2. Add the dollar value of the portion you own for all of your entrie~ from Part 1, including any entries for pages                                        $_ _4o_o_,o_o_o._oo_,
     you have attached for Part 1. Write that number here .............. , .......... : ............................................................. •
                                                                                      I




•~ .. -~ Describe Your Vehicles


 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 I
 I
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
 I
     0   No
 i lia   Yes


     3.1.     Make:                       toyota                      Who has an interest in the property? Check one.          1   Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims On Schedu/8 D:
                                                                                                                               1


              Model:                      highlander                   liZI Debtor 1 on,ly                                     i   Creditors Who Have Claims Secured by Property.
 I                                        2013                         D Debtor 2 o~ly
              Year:                                                                                                                Current value of the      Current value of the
                                                                       D Debtor 1 and Debtor 2 only
              Approximate mileage:        32000                                                                                    entire property?          portion you own?
                                                                       D At least on~ of the debtors and another
 '
              Other information:
                                                                                                                                   $        1a,000.00        $._ _1_a_,o_o_o._oo_
                                                                       D Check if this is community property (see
                                                                           instruction~)
             I                                              I
     If you own or have more than one, describe here:
                                                                                                                               ;
     3.2.    Make:                                                     Who has an interest in the property? Check one. ; Do not deduct secured claims or e~emptions. Put
                                                                                   I

                                                                       D   Debtor 1 only
                                                                                                                               !   the amount of any secured claims on Schedule D:
             Model:                                                                                                                Creditors Who Have Claims Sec_ur~d by Property.
                                                                       0   Debtor 2 only                                       . -....... ------ ----- -~             -~--~-----
                                                                                                                                                                  ---·-----
                                                                                                                                                                      '        '




             Year:                                                                                                                 Current value of the      Curreht value of the
                                                                       D   Debtor 1 ahd Debtor 2 only
                                                                                                                                   entire property?          portio_n you own?
             Approximate mileage:                                      0   At least one of the debtors and another
             Other information:
                                                                                                                                   $_ _ _ _ _ __             $_ _ _ _ _ __
                                                                       D Check if this is community property (see
                                                                           instructions)




-'-'------·--------------------------~----------------------------------
 iOfficial Form 106A/B                                                  Schedule A/B: Property                                                                      page2
                            Case 8-18-76800-ast                   Doc 13               Filed 10/26/18                         Entered 10/26/18 14:44:25


        Debtor 1       Franny                                                  Mari~no                                    Case number (if known)        8-18-76800-ast
                       First Name       Middle Name       Last Name




                                                                                       I
                                                                                       I
                                                                                                                                                                                      '
                                                                                                                                                                                               I__ --- - - - ----- -
           3.3.    Make:                                              Who has an; interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put
                                                                                                                                                      the amount of any secured claims on Schedule D:
                   Model:                                             D Debtor 1 6nly                                                                 Creditors Who Have Claims Secured by p;operty.
                                                                      D Debtor 2 qnly
                   Year:                                                                                                                              Current value of the              Current value of the
                                                                      D Debtor 1 ~nd Debtor 2 only
                   Approximate mileage:                                                                                                               entire property?                  portion you own?
                                                                      D At least oJe of the debtors and another
                   Other information:                                                   II
                                                                                                                                                      $_ _ _ _ __                       $_ _ _ _ _ __
                                                                      D Check if this is community property (see
                   I                                       I               instructio~s)

                                                                                        I                                                        ! -
                                                                                                                                                  ~            - -- -~         --~_.- - . -    ~       --- .--- -;- .
           3.4.    Make:                                              Who has anlinterest in the property? Check one. r Do not deduct secured claims or exemptions.- Put
                                                                                                                      ! the amount of any secured claims on Schedule D:
                   Model:                                             D Debtor 1 only                                                            l_?reditors Wh~- ~ave_ Claims Secured b~ Prope~~
                                                                      D Debtor 2 dn1y
                   Year:                                                           I                                                                  Current value of the              Current value of the
                                                                      D Debtor 1 and Debtor 2 only
                   Approximate mileage:                                                                                                               entire property?                  portion you own?
                                                                      D At least o~e of the debtors and another
                                                                                           i
I                  Other information:
                                                                                        I                                                             $_ _ _ _ _ __                     $_ _ _ _ _ __
                                                                      D Check if this is community property (see
                   I                                       I               instructio~s)




                                                                                           I
                                                                                           I
    4. Watercraft, aircraft, motor homes, ATVs and other recreational, vehicles, other vehicles, and accessories
          Examples: Boats, trailers, motors, personal watercraft, fishing vess~ls, snowmobiles, motorcycle accessories
           ~~                                                                              :
           D Yes                                                                           i
                                                                                           i
                                                                                           I

           4.1.    Make:
                                                                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put
                                                                      •'             i
                                                                           Debtor 1 only
                                                                                                                                                      the amount of any secured claims'. on Sche_dule D:
                   Model:

                   Year:
                                                                                   I
                                                                      D Debtor 2 only
                                                                                   I
                                                                      D Debtor 1 ahd Debtor 2 only
                                                                                                                                                 l    Creditors Who Have Claims Secured by Property.

                                                                                                                                                           .

                                                                                                                                                      Current value of the
                                                                                                                                                                             --
                                                                                                                                                                                             '
                                                                                                                                                                                                   i
                                                                                                                                                                                                   I



                                                                                                                                                                                        Current value of the
                                                                                                                                                                                                             .. -
                                                                                                                                                                                                                    '
                                                                                                                                                                                                                          -




                   Other information:                                 D At least onb of the debtors and another                                       entire property?                  portion you own?
                                                                                           'I                                                                                                      I
                                                                                            '
                                                                      D Check if this is community property (see                                      $_ _ _ _ __                       $_ _ _ _ __
                                                                        · instruction's)
                                                                                               I




           If you own or have more than one, list here:
                                                                                               I                                                 I - --- - -·. - .          ........- - .. -            -- . ...... ·- -- --
           4.2.    Make:
                                                                      Who has an interest in the property? Check one. ' · Do not deduct secured claims or exemptions. Put
                                                                      D Debtor 1 oilly                                                           !    the amount of any secured clainis,on Schedule D:
                   Model:                                                                                                                        ~ciitors Who Have C/aim~d by_ Property.
                                                                      D Debtor 2 o~ly
                   Year:                                                                                                                              Current value of the              Curr~nt value of the
                                                                      D Debtor 1 a~d Debtor 2 only                                                    entire property?                  portion you own?
                   Other information:                                 D At least on~ of the debtors and another
                                                                                               I                                                      $_ _ _ _ _ __                     $_ _i _ _ _ __
                                                                      D Check if this is community property (see
                                                                           instruction~)
                                                                                               I
                                                                                               I




                                                                                                   I


    f·     Add the dollar value of the portion you own for all of your entri~s from Part 2, including any entries for pages                                                                         $       18,000.00
    j      you have attached for Part 2. Write that nui:nber here          ················-+······································--···························································· ~ • · - - - - - - - -
    !

1....;.__:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____,
    I




        Official Form 106NB                                            Schedule A/_B: Property                                                                                                         page3
                               Case 8-18-76800-ast                                    Doc 13               Filed 10/26/18                         Entered 10/26/18 14:44:25


        Debtor 1         Frenny                                                                   Mari~no                                     Case number (if known)       8-18-76800-ast
                           First Name           Middle Name               Last Name




                     · Describe Your Personal and Household Items
                                                                                                            I·                                                                                      Current value of the•·
Do you own or have any legal or equitable interest in any of the foilowing items?
                                                                                                                                                                                                    portion you own?
f                   -                       ·                                                               1.                                                                                      Do not deduct secured claims
.                                                                                                           I,
L____ ... ____ ._ -------- ... --- --·----
'
                                                                                                          J: __
                                                                                                            I
                                                                                                                                                                                            ___   ..?~ _e!<~~_P!ion,s. _ _ _ ______ _
6. Household goods and furnishings
          Examples: Major appliances, furniture, linens, china, kitchenware
          0
          l;ZI
                  No

                  Yes. Describe .........   !~  s_e_e_a_tt_a_c_h_e_d________-'--_________________                                                                                             ___J
                                                                                                                                                                                                     $- - - - - '1,000.00
                                                                                                                                                                                                                 -----

,. Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                    collections; electronic devices including cell phones, ca~eras, media players, games
          0       No
           i;zi Yes. Describe .......... computer, TV, !Phone, air purifier) dehumidifier, sound system                                                                                              $ _ ~_ _1_0_0_.o_o
I
I
8. Collectibles of value
I                                                                        I
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
I             stamp, coin, or baseball card collections; other collectioris, memorabilia, collectibles
!          ~~                                                                                               '
I          D      Yes. Describe ......... .                                                                                                                                                          $_ _ _ _ _ _ __
'

~· Equipment for sports and hobbies                                                                          1

          Examples: Sports, photographic, exercise, and other hobby equipmbnt; bicycles, pool tables, golf clubs, skis; canoes
                                                                          1
                    and kayaks; carpentry tools; musical instruments
           0      No

           ~ Yes. Describe.......... ,~A_c_o_u_s_t_ic_G_u_it_a_r___________________________,                                                                                                                10_0_.o_o
                                                                                                                                                                                                     $_ _ _ _


;10. Firearms
                                        .                                                                    I
          Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          ~~                                                                 :
           D      Yes. Describe ......... .                                                                                                                                                          $_ _ _ _ _ __
    i
    -11.Clothes                                                                                              ,
           Examples: Everyday clothes, furs, leather coats, designer wear, shdes, accessories
          •~                                                                                                 I

                                                                                                             !
           l;ZI                                                                                           50_0_.0_0
                  Yes. Describe .......... ~,c_l_o_th_e_s_,_s_h_o_e_s____________________________. $_ _ _ _

    I
    ~2.Jewelry
                                                                                                                i
           Examples: Everyday jewelry, costume jewelry, engagement rings, IJl(edding rings, heirloom jewelry, watches, gems,
                     gold, silver                                                                            i
           ~ No
           D      Yes. Describe ......... .                                                                                                                                                          $_ _- - - ; - - - - -

    ~3. Non-farm animals
           Examples: Dogs, cats, birds, horses

           ~ No
           D Yes. Describe ........ '..                                                                                                                                                              $_ _~ - - - - -

    r.Any other personal and household items you did not already li~t, including any health aids you did not list

    !      ~~                                                                                                   '
    I      D      '!es. Gi~e specific
                                                                                                                                                                                                     $_ _~ - - - - -
    ,             information.·············'---------------------------------------'
    '
    \ 5. Add the dollar value of all of your entries from Part 3, including' any entries for pages you have attached
                                                                                                                                                                                                   .....-----------;
                                                                                                                                                                                                     $_ _ _ _ _ _ _ __
    ' for Part 3. Write that number here .................................................................................................................................................... ~



        Official Form 106A/B                                                              Schedule A/8: Property                                                                                                   page4
                                 Case 8-18-76800-ast                                              Doc 13                     Filed 10/26/18                                Entered 10/26/18 14:44:25
                                                                                                                              I
                                                                                                                     . !
    Debtor 1              Frenny                                                                                  Manano                                              Case number i;tknown)   8-18-76800-ast
                            First Name              Middle Name                      Last Name




                      Describe Your Financial Assets
J                                          ,                                                         •                        '

                                                                                                                                                                                                                      Current value of the
,bo you ow~ or have
                .   any legal or equitable
                                    .. .   interest .in any ot'the foil~wing?.
                                                                     I, .
i
I
                                                                     i"         .                                             I'.
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims

l                                                               . ----- -- .-                                                 l.                                       " - "- - -- - - -" - .
                                                                                                                                                                                                                      or exemptions.

~6.Cash
I Examples: Money you have in your wallet, in your home, in a safe d~posit box, and on hand when you file your petition
I                                                                                                                             :
I                                                                                                                             '
I i;a          No
        D      Yes ................................................................................................................................................................   Cash: .......................    $_ _ _ _ _ _ __



ff Deposits of money                                                    , .
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accouhts with the same institution, list each.

        !iZI   No
        D      Yes .................... .                                                                 Institution name:
                                                                                                                                  i
                                                                                                                                  I
                                                     17.1. Check.ing account                              Wells Far,go                                                                                                 $               300.00

                                                     17.2. Che_cking account:                             TD Bank'                                                                                                     $                  0.00

                                                     17.3. Savings account:                                                                                                                                            $
                                                     17.4. Savings account:                                                                                                                                            $
                                                     17 .5. Certificates of deposit:                                                                                                                                   $
                                                     17.6. Other financial account:                                                                                                                                    $
                                                     17.7. Other financial account:                                                                                                                                    $

i                                                    17.8. Other financial account:                                                                                                                                    $
                                                     17.9. Other financial account:                                                                                                                                    $




~8. Bonds, mutual funds, or publicly traded stocks
    '   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        ~      No                                                                                                                 !
        D      Yes ................ .                Institution or issuer name:

                                                                                                                                                                                                                       $_ _ _ _ _ _ _ _

                                                                                                                                                                                                                       $--~----
                                                                                                                                                                                                                       $. _ _~ - - - -



                                                                                                                                  \
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture                                                                                    i
        ~ No                                         Name of entity:                                                                                                                  % of ownership:
        D Yes. Give specific                                                                                                                                                           0%               %              $
               information about
               them ........................ .
                                                                                                                                                                                       0%               %              $
                                                                                                                                                                                       0%               %              $



                                                   ----------------·-•·-·•·--·-------~---------------·---------~---·
    I

    !Official Form 106A/B                                                                                Schedule A/B: Property                                                                                                     page5
    I
    I
                              Case 8-18-76800-ast                                    Doc 13     Filed 10/26/18     Entered 10/26/18 14:44:25


    Debtor 1           Frenny                                                             Mariano                Case number (it known)   8-18-76800-ast
                         First Name            Middle Name               Last Name




                                                                                                I


· 20. Government and corporate bonds and other negotiable and n~n-negotiable instruments
                                                                     •                          I

      Negotiable instruments include personal checks, cashiers' checks, 'promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to some9ne by signing or delivering them.

      liZI   No
      D Yes. Give specific                     Issuer name:
             information about
             them ...................... .                                                                                                             $._ _ _ _ _ _ __

                                                                                                                                                       $._ _ _ _ _ __
                                                                                                                                                       $_ _ _ _ _ _ __


;21. Retirement or pension accounts                                                                 ,
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
                                                                                                    !
      liZI~                                                                                         '
      D      Yes. List each
             account separately.               Type of account:             Institution name:

                                               401(k) or similar plan:      -~~------'---------------------                                            $_ _ _ _ _ _ _ __

                                               Pension plan:                -------~--------------------                                               $_________

                                               IRA:                        ------~---------------                                                      $_ _ _ _ _ __

                                               Retirementaccount:           ---------'---------------------                                            $.____;______
                                               Keogh:                       ____________________________                                               $_ _ _ _ _ _ _ __

                                               Additional account:          ____________________________                                               $._________

                                               Additional account:          -----~----------------------                                               $_ _ _ _ _ _ _ __
'
i
I
~2. Security deposits and prepayments                                    ,
    Your share of all unused deposits you have made so that you may e:ontinue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others                                     ·           '

      l;il No
      D      Yes ......................... .                         Institution name or individual:

                                               Electric:                                                                                              $. _ __,__ _ __
                                               _Gas:                                                                                                  $.·_ _ _ _ _ _ __
                                               Heating oil:                                                                                           $_ _ _ _ _ _ __
                                               Security deposit on rental unit: _ _ _ _ _-,-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                      $_ _ _ _ _ _ __

                                               Prepaid rent:                                                                                          $._ _ _ _ _ _ __
                                               Telephone:                                                                                             $_ _ _ _ _ _ _ __
                                               Water:                                                                                                 $._ _ _ _ _ _ __
                                               Rented furniture:                                                                                      $_ _ _ _ _ _ __
                                               Other:
                                                                                                                                                      $-------~-

~3.Annuities (A contract for a periodic payment of money to you, either,for life or for a number of years)

      liZI   No
      D      Yes..........................     Issuer name and description:
                                                                                                                                                      $_ _ _ _ _ __
                                                                                                                                                      $._ _ _ _ _ __
                                                                                                                                                      $_ _ _ _ _ _ _ _
    ------------------------------~--~~---·
    lofficial Form 106NB                                                              Schedule NB: Property                                                    page 6
                               Case 8-18-76800-ast                                  Doc 13     Filed 10/26/18            Entered 10/26/18 14:44:25


    Debtor 1            Frenny                                                           Maria.no                     Case number (if known)   8-18-76800-ast
                          First Name           Middle Name              Last Name




                                                                                               I

:24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).                                          '

      liZI    No

      D       Yes ····································   Institution name and description. Se:parately file the records of any interests.11 U.S.C. § 521 (c):

                                                                                                                                                                    $._ _ _ _ _ __
                                                                                                                                                                    $_ _ _ _ _ _ __

                                                                                                                                                                    $._ _ _ _ _ __

I                                                                                              ;
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit                                      I                          ·
      liZI    No
      D       Yes. Give specific
              information about them ....                                                                                                                           $._ _ _ _ _ __


    6. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royaltiE;s and licensing agreements
       liZI   No
       D      Yes. Give specific
              information about them ....                                                                                                                           $_ _ _ _ _ __


27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative associa.tion holdings, liquor licenses, professional licenses

       liZI   No
       D      Yes. Give specific
              information about them ....                                                                                                                           $ _ _ _ _ _ _ __



 Money or property owed to you?                                                                                                                                     Current value of the
                                                                                                                                                                    portion you own?
                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                    claims or exemptions.

 ~8. Tax refunds owed to you

       liZI   No
       D      Yes. Give specific information
                   about them, including whether
                                                                    I                                                                    Federal:               $                 0.00
                                                                                                                                                                $                 0.00
                      ~~~ ~~~~:::~~~t~.~~~~~~~·· · · · . ____________________
                                                                                                                                         State:

                                                                                                                                  ___J   Local:                 $                 0.00


 29. Family support
    ! Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       liZI   No
       D      Yes. Give specific information ............. .
                                                                                                                                         Alimony:                   $---~---
                                                                                                                                         Maintenance:               $_ _ _ _ _ __
                                                                                                                                         Support:                   $_ _ _ _ _ __
                                                                                                                                         Divorce settlement:        $_·_ _ _ _ _ __
                                                                                                                                         Property settlement:       $·---~---

 30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
               Social Security benefits; unpaid loans you made to some·one else

       liZI    No
       D       Yes. Give specific information .............. .
                                                                                                                                                                    $. _ _ _ _ _ _ _ _ _ ,


~-------------~·----~--
    Official Form 106A/B                                                             Schedule A/8: Property.                                                                   page 7
                               Case 8-18-76800-ast                                      Doc 13                Filed 10/26/18                          Entered 10/26/18 14:44:25


     Debtor 1            Frenny                                                                      Mariano                                      Case number (it known) 8-18-76800-ast
                          First Name            Middle Name                 Last Name




 ,31. Interests in insurance policies
 :       Examples: Health, disability, or life insurance; health savings accou!lt (HSA); credit, homeowner's, or renter's insurance
         0     No
         l;zl Yes. Name the insurance company                              Company name:                                                              Beneficiary:                                       Surrender'or refund value:
                       of each policy and list its value ....
                                                                            Securian                                                                  Niurqui Imbert                                                    0.00
                                                                                                                                                                                                         $- - - , - - - - --
                                                                                                                                                                                                         $_ _ _ _ _ __
                                                                                                                                                                                                         $_ _ _ _ _ __

 32. Any interest in property that is due you from someone who has died
 i       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
         property because someone has died.
          [;21 No
          D    Yes. Give specific information ............ ..
                                                                                                                                                                                                         $_ _ _ _ _ _ __

                                                                                                                I
 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
         Examples: Accidents, employment disputes, insurance claims, or ricihts to sue
          [;21 No
        ·D     Yes. Describe each claim ................... ..
                                                                         ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' $._ _ _ _ _ _ _ _ _ I
                                                                                                                i
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
                                                                    1
 · to set off claims
          i;zl No
          D    Yes. Describe each claim ................... ..
                                                                        .___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,$_ _ _ _ _ _ __



     35.Any financial assets you did not already list

          i;z1 No
          D    Yes. Give specific information............                                                                                                                                                $
                                                                        '-----------------------------~                                                                                                   ·--------
     36. Add the dollar value of all of your entries from Part 4, including' any entries for pages you have attached
     · for Part 4. Write that number here ........................................................:............................................................................................   -+     $


1------------------------------------------------------------------i
                       Describe Any Business-Related Property ~ou Own or Have an Interest In. List any real estate in Part 1.
                                                                                                                    I

     37. Do you own or have any legal or equitable interest in any business-related property?

          l;zl No. Go to Part 6.
          D    Yes. Go to line 38.
                                                                                                                                                                                                       ·current vaiue of the ·
                                                                                                                                                                                                       :portion you own?
                                                                                                                                                                                                       po not deduc,t secured claims
                                                                                                                                                                                                       ,or exemptions.

     y8.Accounts receivable or commissions you already earned

     I D No
     \ D        Yes. Describe .......


     39. Office equipment, furnishings, and supplies
          Examples:      Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
          •     No
          D     Yes. Describe .......                                                                                                                                                                  !$_ _ _ _ _ _ __

[_   --·- ·-- ·-•· -----------------·--------- ----- -----·---------..--------· -------------------·--- --- --------- ----
                                                                                   ..



     ·Official Form 106A/B                                                                   Schedule        A/B: Property                                                                                           page 8
                                  Case 8-18-76800-ast                               Doc 13                Filed 10/26/18                          Entered 10/26/18 14:44:25


        Debtor 1          Frenny                                                                 Mariano                                      Case number (it known) 8-18-76800-ast
                             First Name            Middle Name          Last Name




 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade                                                                                                                      !

          0      No                                                                                                                                                                                             I



          0      Yes. Describe ..... .
                                             ·I                                                                                                                                                   ~
 i                                                                                                                                                                                                I
 I
                                                                                                           i
 I
 ~1. Inventory
 1
                                                                                                           :
                                                                                                           :
          D      No                                                                                        I

          0      Yes. Describe ..... .
                                             ·I                                                            :                                                                                      I

                                                                                                           :
 ~2. Interests in partners hips or joint ventures
          0      No
          D      Yes. Describe ..... .            Name of entity:                                          :                                                          % of ownership:
                                                                                                           :                                                          _ _ _%                      $
                                                                                                            I

                                                                                                                                                                      _ _ _%                      $
                                                                                                            I


                                                                                                                                                                      - - -%                      $

 43. Customer lists, maili ng lists, or other compilations                                                  :
                                                                                                            :
          0      No
                                                                                                            I

          0      Yes. Do your lists include personally identifiable informatiop {as defined in 11 U.S.C. § 101{41A))?
                         0     No
                         0     Yes. Des cribe ........      I
                                                                                                                                                                                                  Is
 44. Any business-related property you did not already list
 , 0             No
                                                                                                            I
   0             Yes. Give specific
                 information·.; ....~.:
                                                                                                                                                                                                      $
                                                                                                                                                                                                      $
                                                                                                                                                                                                      $
                                                                                                                                                                                                      $
                                                                                                                                                                                                      $
                                                                                                               I                                                                                      $
    I
 45. Add the dollar value of all of your entries from Part 5, including, any entries for pages you have attached
     for Part 5. Write that number here ..........................:.............................:............................................................................................ ~
                                                                                                               !



                                                                                                                I

                         Describe Any Farm- and Commercial Fishing-Re,ated Property You Own or Have an Interest In.
                         If you own or have an interest in farmland, list it in Pa~ 1.
     I

 16. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          !aa'   No. Go to Part 7.
          0      Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                  }portion you own?
                                                                                                                                                                                                  :Do not deduct secured claims
                                                                                                                                                                                                  :or exemptions.
    f · Farm animals
     ·     Examples: Livestock, poultry, farm-raised fish
           0     No
           0     Yes ........................ .
I
I ,
                                                                                                                                                                                                          $_ _ _ _ _ _ _ _ _
L' ___________                                                                                                                                           -·-----------------------~
     ;Official Form 106A/B                                                               Schedule A/8: Property                                                                                                     page9
                                   Case 8-18-76800-ast                                  Doc 13                  Filed 10/26/18                           Entered 10/26/18 14:44:25

                                                                                                                 !

      Debtor 1             Frenny                                                                    Mariano                                        Case number (ilknown)          8-18-76800-ast
                             First Name               Middle Name           Last Name




 ~8. Crops-either growing or harvested

          •      No

 I
 !
          •      ~~i~~~~:~.~~i.~.~.,
                         '-----------------,-1------------------___J
                                                                                                                :                                                                                           I    $
                                                                                                                                                                                                                 --------
 49. Farm and fishing equipment, implements, machinery, fixtures, ~nd tools of trade
 I
 I
          •~                                                                                                     I

 i        D      Yes ..........................   l                                                              ,                                                                                          I$
                                                  '-----------------'---------------------'                                                                                                                      ---------
 I
 50. Farm and fishing supplies, chemicals, and feed
 ! 0             No

 ! D             Yes .......................... ,                                                                                                                                                           I    $

                                                  ~---------------,---------------------'                                                                                                                        ---------
                                                                                                                 '
 51. Any farm- and commercial fishing-related property you did not already list
  !       •~                                                                                                     !
          0
 !
                 ~~i~:~~~:~.~~'.~~.l.________________. ;.:_____________________,I                                                                                                                                $_ _ _ _ _ _ __
  i                                                                                                              I


                                                                                                                                                                                                   -+ 1$,_ _
 ~2. Add the dollar value of all of your entries from Part 6, including !any entries for pages you have attached
 ! for Part 6. Write that number here ..........................-.:: ... :......:...... :......... !...........................................................................................
  I                                                                                                              i
                                                                                                                 :




-·~1•                      Describe All Property You Own or Have                                            anl Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership                                                      !
                                                                                                                 :
                                                                                                                                                                                                                     $_ _ _ _ _ __
          D
          liZI   Yes.
                 No Give specific                 I                                                              i                                                                                I                  $_ _ _ _ __

                 information ............. ~ - - - - - - - - - - - - - - - - - , :_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____,                                                                                                $_ _ _ _ __



 54.Add the dollar value of all of your entries from- Part-- 7. Write that:number
                                                                          !
                                                                                                                 I
                                                                                  here .................................................................                                           -+       I  $_
                                                                                                                                                                                                            ..__ __
                                                                                                                                                                                                                  ____
                                                                                                                                                                                                                     ____
                                                                                                                                                                                                                        ___-I



-~---..-, .                List the Totals of Each Part of this Form                                                 !


 ~5. Part 1: Total real estate, line 2 ................................................................1.............................................................................................   • I $_ _4_0_6_,o_o_o_.o_o_
     i
 56. Part 2: Total vehicles, line 5                                                                                  ! $          18,000.00
  i -- ,                                                                                                             i
 57. Part 3: Total personal and household items, line 15                                                                 $- - - 2,300.00
                                                                                                                                ----
  r                                                                                                                  ,          300.00
                                                                                                                         $_ _ _ _ __
 58. Part 4: Total financial assets, line 36

 l9. Part 5: Total business-related property, line 45                                                                : $_ _ _ _ _ _ _

     I                 .                                                                                                 $_ _ _ _ __
 60. Part 6: Total farm- and fishing-related property, line 52
     I     -
 ~1. Part 7: Total other property not listed, line 54                                                            t$______
     II
 62. Total personal property. Add lines 56 through 61 ................... ..                                                      2o, 5oo.oo ICopy personal property total •                                I+   $_ _ _2_0_,6_0_0_.o_o_


      I
 ~. Total of all p,op,rty "" Schod"'' AJB. Add. II•• 55 • Hoo 62..........................................................................................                                                  I•          42 D,600.00       I
__ \                                          _ _ ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, _ ,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ j



      !official Form 106A/B                                                                  Schedule A/B: Property                                                                                                        page 10
       Case 8-18-76800-ast           Doc 13      Filed 10/26/18      Entered 10/26/18 14:44:25




3 beds, 3 dressers, 1 crib 2 couches, 1 coffee table, 2 chairs, small computer desk, small bench, lines,
towels, refrigerator, stove, washer and dryer, dishwasher, microwave, plates and pods, utensils
                              Case 8-18-76800-ast                    Doc 13           Filed 10/26/18                    Entered 10/26/18 14:44:25



        Fill in this information to identify your case:
                                                                                        I
        Debtor 1           Frenny                                                 Mar,iano
                            First Name                 Middle Name               Last Name

        Debtor2                                                                         I
        (Spouse, if filing) First Name                Middle Name                Last Name


        United States Bankruptcy Court for the: Eastern District of New York

        Case number          8-18-76800-ast                                                                                                              D   Che~k if this is an
        (If known)
                                                                                                                                                             amended filing


'.Official Form 106C
!Schedule C: The Property Y~u Claim as Exempt                                                                                                                          04/16

: Be as complete and accurate as possible. If two married people are filihg together, both are equally responsible for supplying correct information.
'. Using the property you listed on Schedule AIB: Property (Official Form 1106NB) as your source, list the property that you claim as exempt. If more
,space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
!your name and case number (if known).         ·                          '
I                                                                                       i
i For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
'                                                                                       I
:specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
:of any applicable statutory limit. Some exemptions-such as tho~e for health aids, rights to receive certain benefits, and tax-exempt
I                                                                  I
:retirement funds-may be unlimited in dollar amount. However, iflyou claim an exemption of 100% of fair market value under a law that
1limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

!would be limited to the applicable statutory amount.              '


                         Identify the Property You Claim as Exempt


·:1     1. _Which set of exemptions are you claiming? Check one only, e1en if your spouse is filing with you.
             ~ You are claiming state and federal nonbankruptcy exemptionJ.I                    11 U.S.C. § 522(b)(3)
             D    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)            I
                                                                                        I


        2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
                                                                        !
                                                                                        ! - -- ·~ --- . ,.
              Brief description of the property and line on          Current value of the           Amount of the ex~mption you cla_im        Specific laws_that.allow exemption
              Schedule A/.B that lists this property                 portiori you own 1
                                                                           -            i
                                                                     Copy the value from             Check only one box for_each exemption.
                                                                     Schedule AIB      1,
                                                                                       I •
                                                                                    • -. 1 •


             Brief                                                                                                                            N.Y. Civil Practice Law§
             description:
                                         149 Haig Rd Primary         $400,000.00                     liZI $ 116,225.65                                             1

                                                                                                     D 100% of fair market value, up to       5206(a)
             Line from
             Schedule AIB:               1.1                                                            any applicable statutory limit


             Brief                                                                                                                            N.Y. Debtor and Creditor
             description:
                                         toyota Highlander           $18,000.00                      liZI$ 1.00
                                                                                                     D 100% of fair market value, up to       Law§ 282(1)
             Line from
             Schedule AIB:                                                                              any applicable statutory limit
             - - - - - - -----~----~---~ - ------ ---------~-------
                                                                                                                                                                   ;
             Brief                                                                                                                            N.Y. Civil Practice Law§
             description:
                                         Household goods             $1,000.00                       liZI $ 1,000.00
                                                                                                     D 100% of fair market value, up to       5205(a)            ·
             Line from
             Schedule AIB:                                                                              any applicable statutory limit

                                                                                            I


    j   3. Are you claiming a homestead exemption of more than $160,375?                    I

             (Subject to adjustment on 4101/19 and every 3 years after that for'cases filed on or after the date of adjustment.)

             ~    No
             D    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  •       No
                 .lia'    Yes
    1~----------------~------------~----



      Official Form 106C                                             Schedule C: The Property You Claim as Exempt                                                  page 1 of   2
                     Case 8-18-76800-ast                     Doc 13         Filed 10/26/18                          Entered 10/26/18 14:44:25


Debtor 1         Frenny                                                Maribno                                  Case number (ii known)   8-18-76800-ast
              First Name         Middle Name     Last Name




             Additional Page
                                                                                        '                                          -
      Brief descripti<>n of the property. and line       Current value of ttie              Amount of the exemptio·n you claim               Specific !aws that all9w exemptio~
      on Schedule AIB that lists this property           portion you own        !·
                                                                                I,

                                                         Copy the value from                Check only one "box for each exemption
                                                 -·· - - -- Schedule A/B - --   i
                                                                                I
     Brief                                                                                                                                  N.Y. Civil Practice Law§
   . description:
                           Electronics                       $          100:.00             litf $ _ _1_0_0.:.::.0--=--o                    5205(a)
     Line from             7                                                                0      100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit

     Brief                                                                      i
                                                                                                                                            N.Y. Civil Practice Law§
     description:          Acoustic Guitar               $              100·.oo             i-a $ _ _1-=--=o=o-=-=.o-=-o                    5205(a)
     Line from                                                                              0      100% of fair market value, up to
     Schedule AIB:
                           9                                                                       any applicable statutory limit
                               - - - - - - - - - - _________I __                                        ____________________________:
                                                                                I
     Brief                 clothes, shoes                                                                                                   N.Y. Civil Practice Law§
     description:
                                                             $          500:.00             ~$             500.00
                                                                                            lltl    ----                                    5205(a)
     Line from                                                                              0      100% of fair market value, up to
                           11                                                                      any applicable statutory limit
     Schedule AIB:

     Brief
     description:
                                                             $_ _ _ _ __                    0$ _ _ __
     Line from                                                                              0      100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit

     Brief
     description:
                                                             $_ _ _ _ __                    0$ _ _ __
     Line from                                                                              0      100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit


     Brief
     description:                                            $-------'---                   0$ _ _ __
     Line from                                                                              0      100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit


     Brief
     description:                                            $_ _ _ __!___                  0$ _ _ __
     Line from                                                                              0 100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit

     Brief
     description:
                                                             $._ _ _ _ _        .!___       0$ _ _ __
     Line from                                                                              0      100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit


     Brief
     description:                                            $-----+--                      0$ _ _ __
     Line from
                                                                                            0      100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit


    . Brief
      description:                                           $'------'----                  0$ _ _ __
     Line from
                                                                                            0 100% of fair market value, up to
     Schedule AIB:                                                                                 any applicable statutory limit ·
                               ---------. ------- - - - -                            --------------------------------------
     Brief
     description:                                            $-----~-                       0$ _ _ __
     Line from
                                                                                            0      100% of fair market value, up to
     Schedule A/B:                                                                                 any applicable statutory limit


     Brief
     description:
                                                             $_ _ _ _ _ _                   0$ _ _ __
      Line from
                                                                                            0      100% of fair market value, up to
      Schedule AIB:                                                                                any applicable statutory limit



:official Form 106C                                     Schedule C: The !'roperty You Claim as Exempt                                                         pagel__ot.2.
                             Case 8-18-76800-ast                         Doc 13              Filed 10/26/18               Entered 10/26/18 14:44:25



    Fill in this information to identify your case:


    Debtor 1             Frenny                                                       Mari$no
                         First Name                    Middle Name                    Last Nam~
                                                                                              I
    Debtor 2
    (Spouse, iffiling)   First Name                    Mlddle Name                    LastNam8


    United States Bankruptcy Court for the: Eastern District of New York

                         8-18-76800-ast
    Case number
· (If known)                                                                                                                                                    •   Check if this is an
                                                                                                                                                                    amended filing


    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                 1
                                                                                                                                                                                  12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                              0


    information. If more space is needed, copy the Additional Page, fi II it out, number the entries, and attach it to this form. On the top :of any
    additional pages, write your name and case number (if known).                             !
                                                                                              !                                                                           '
~- Do any creditors have claims secured by your property?                                     I                    ·                 ·
         D       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
         ~ Yes. Fill in all of the information below.                             ,
                                                                                              !I          .

                     List All Secured Claims
I                                                                     I                                 :Column A                                       'coJumnB                ColumnC
2. List all s~cured claimsi If a creditor has ~ore than one sec~~ed cl~i~, li~t the creditor separately Amount of claim                                  Value ofcollateral     Unsecured
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                                           that supports this.    p(!rtion.,
                                                                                                                                :Do not deduct the
         As much as possible, list the claims_ in alphabetical order ·according ~o the creditor's name.                         .value of collateral.    claim            ·     If any·.
                                                        -------·--- --------------~- ___ , ..,______
                                                                                              '               --- - - ·-·- ----------~---~~-----~~~---<
                                                                                                                              '
~-
     1
          Bank of Ameica                                                                     t
                                                                 Describe the property hat secures the claim:
                                                                                              1
                                                                                                                                $        263,794.25 $        400,000.00 $._ _ _0_.0_0_
!         Creditor's Name                                                                     I
           4909             Saverese Circle                     149 Haig Rd, Valley Stream, NY, 11581
          Number            Street

          FL 1-908-01-47                                        As of the date you file, the claim is: Check all that apply.
                                                                                              1
                                                                 0   Contingent
          Tampa                        FL      33634             0   Unliquidated
          City                         State   ZIP Code
                                                                 0   Disputed                     1


     Who owes the debt? Check one.                               Nature of lien. Check all :that apply.
      ~ Debtor 1 only                                            ~ An agreement you made (such as mortgage or secured
      0      Debtor 2 only                                           car loan)              i
      0      Debtor 1 and Debtor 2 only                          0   Statutory lien (such a~ tax lien, mechanic's lien)
      0     At least one of the debtors and another              0   Judgment lien from a I~wsuit
                                                                 0   Other (including a right to offset) _ _ _ _ _ _ __
      0 Check if this claim relates to a
        community debt
                                                                                                  i
     Date debt was incurred                                      Last 4 digits of account number _             __ _
22
 · Chase Mortgage
                                                                                                  I
                                                                 Describe the property t~at secures the claim:                  $         19,980.10      $   400,000.00        $._·_ _ o_.oo_
          Creditor's Name                                                                         i
          PO BOX24696                                           149 Haig Rd, Valley Stream, NY, 11581
          Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 0   Contingent
          Columbus
          -   - - - - - - - -State
                             ---       OH 43224
                                      --- O                      •   Unliquidated
          City                     ZIP Code                          Disputed

     Who owes the debt? Check one.                               Nature of lien. Check all that apply.
      ~ Debtor 1 only                                            ~ An agreement you made (such as mortgage or secured
      0      Debtor 2 only                                         car loan)          !
      0      Debtor 1 and Debtor 2 only                          0   Statutory lien (such asltax lien, mechanic's lien)
      0      At least one of the debtors and another             0   Judgment lien from a l~wsuit
                                                                 0   Other (including a righ! to offset) _ _ _ _ _ _ __
      •  Check if this claim relates to a
         community debt                                                                           I


      Date debt was incurred                                     Last 4 digits of account number~              ...l_ _l_ _Q
          Add the dollar value of your entries in Column A on this page. Write that number here: _                                       283,774 35

    Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 ofl___
                              Case 8-18-76800-ast                             Doc 13        Filed 10/26/18                    Entered 10/26/18 14:44:25


  Debtor1             Frenny                                                          Mariano                               Case number (it known) 8-18-76800-ast
                       First Name      Middle Name                Last Name




                   Additional Page                                                                                                   Column A               CblumnB               Column C
                                                                                                                                     Amount of claim        Value of collateral    Unsecured
                   After listing any entries on this page, number them beg'inning with 2.3, followed                                                        that supports this    _portion
                                                                                                                                     Db not deduct the
                   by 2.4, and so forth. -                                '                                                                                 claim
                                                                                                                                     value of collateral.                         If.any

                                                                  Describe the property that secures the claim:                     $       20,643.00       $     18,000.00 $ 2,643.00
          Creditor's Name                                                                    I
          ,.,.1_0,_o_-----,,,--B~r_id=ge_,p_o_rt_A_v_e_ _ _
          Number            Street
                                                              Itoyota highlander
                                                              _
                                                                                            2,,   O13

          4th FL
                                                                  As of the date you file, ,the claim is: Check all that apply.
          Shelton                       CT 06484                  •    Contingent            '
          City                         State   ZIP Code           O    Unliquidated
                                                                  D    Disputed

      Who owes the debt? Check one.                               Nature of lien. Check all:that apply.
      i;a"   Debtor 1 only                                        lllf An agreement you mlde (such as mortgage or secured
      D      Debtor 2 only                                             car loan)
      D      Debtor 1 and Debtor 2 only                           0    Statutory lien (such a~ tax lien, mechanic's lien)
      D      At least one of the debtors and another              D    Judgment lien from a iawsuit
                                                                  D    Other (including a rig~t to offset) _ _ _ _ _ _ __
      •      Check .if this claim relates to a
             community debt

      ~ate_ debt was incurred _ _ _ __                            Last 4 digits of accoun~ number _            __ _


, . - ---------'-'-"--'--'---"-_:_:::..;..-'--'- _Descrjb_!l the property that secures the claim:                                   $_ _ _ _ _ __           $._ _ _ _ _ _ $_ _ _ __
          Creditor's Name -


          Number            Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  D    Contingent
                                                                  D    Unliquidated
          City                         State   ZIP Code
                                                                  D    Disputed
      Who owes the debt? Check one.
                                                                  Nature of lien. Check all :that apply.
      D      Debtor 1 only
                                                                  D    An agreement you made (such as mortgage or secured
      D      Debtor 2 only                                             car loan)              :
      D      Debtor 1 and Debtor 2 only                           D    Statutory lien (such a~ tax lien, mechanic's lien)
      D      At least one of the debtors and another              D    Judgment lien from a 1:awsuit
                                                                  D    Other (including a righ,t to offset) _ _ _ _ _ _ __
      D      Check if this claim relates to a
             community debt

      Date debt was incurred _ _ _ __                             Last 4 digits of accoun~ number _            __ _

                                                                                                                                    $,_ _ _ _ _ __          $._ _ _ _ _ _ $._ _ _ __
          ~-------"--=.;..::...-'--'-'--'--'-'----" _ Describe                 thll property t~at secures the claim:
          Creditor's Name


          Number            Street


                                                                  As of the date you file, ~he claim is: Check all that apply.
                                                                  D    Contingent
          City                         State    ZIP Code          D    Unliquidated
                                                                  D    Disputed

      Who owes the debt? Check one.                               Nature of lien. Check all that apply.
       D     Debtor 1 only                                        D    An agreement you mabe (such as mortgage or secured
       D     Debtor 2 only                                             car loan)
       D     Debtor 1 and Debtor 2 only                           D    Statutory lien (such as tax lien, mechanic's lien)
       D     At least one of the debtors and another              D    Judgment lien from a lawsuit
                                                                  D    Other (including a right to offset) _ _ _ _ _ _ __
      •      Check if this claim relates to a
             community debt
       Date debt was incurred _ _ _ __                            Last 4 digits of account number _ _ _ _

                 Add the dollar value of your entries in Column A on this p~ge. Write that number here:• $                                 304,417.35
                                                                                                                                    t:'.'.=====I
     - If this is the la;t page of youi form, add the dollar valu~ totals from all pages.           304,417.35
,___ _~W~rit=e~t=hat num__t,!.l)e[.rJ:lh~ef.!re~:_ _ _ _ _ _ _ _ _ _ _ __:__ _ _ _ _ _ _ _ _ _ _ r:$=======L----------__J
  1
      Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               pagel 2of~
                        Case 8-18-76800-ast                       Doc 13   Filed 10/26/18                             Entered 10/26/18 14:44:25

                                                                            I


     Debtor1        Frenny                                            Mari~no                                      Case number (if known)   8-18-76800-ast
                    First Name     Middle Name        Last Name


: ••&.:111          List Others to Be Notified for a Debt That You Already Listed
                                                                            I·
' Use this page only if you have others t!) be notified about your banl(ruptcy for a debt that you already listed in Part 1. For example, if a _collection
: agency is trying to collect from ·you .for a·.debt you owe to SO'!)eone ~.lse; listthe creditor in Part 1, and then•fist _the collection agency her11. Similarly; if



 •-- . - ---. . --- -"-· " -.·- ---- •· · -··- - :
  you have more than one creditor for any of the debts that you listed!i!l Part 1, list the addition.al creditors here. If you ·do not have additional persons to
, be notified for any debts in Part 1, do not fill out or submit this Paage'.                                                                             ·

                                                                                                                                 ~~~ -1-~;~ ~o:·~~;~;-t~~-~r~~~;~r;_··,-_-_-_--
                                                                                0
                                                                                                                                                                        1
!                                                                                   ----   ·---   --   -;J     O~-~~i~; l;~i~

           Name                                                             !                           !i     Last 4 digits of account number_ _            _    _     ;
                                                                            i
           Number        Street



                                                                                                        ,.
           City                                          State         ZIP Code                         :,
    t---,~---~---------------~------------,.---~---------------------       I

                                                                                                        ',:_
                                                                                                        :: On which line in Part 1 did you enter the creditor? _ _
                                                                                                        H
           Name                                                                                         i: Last 4 digits of account number _ _ _ _
                                                                                                        '
                                                                                                        ii
           Number        Street                                                                         1·
                                                                                                        i
                                                                                                        1:
                                                                                                        ii
                                                                                                        Ii
           City                                          State         ZIP Code
      -,-----~-------------------------1,--------~~-~~------~---                                        \t

     LJ                                 !I
                                        !;
                                                                                                               On which line in Part 1 did you enter the creditor? _ _

           Name                                                                                         ;,     Last 4 digits of account number _ _ _ _
                                                                                                        ,,
                                                                                                        !:
''         Number        Street                                                                         t
I
                                                                                                        ,.:1
                                                                                                        Ii
'                                                                                                        I

           City                                          State         ZIP Code                         ,,i
 -,------~--------=-------~------:::--------------=-----------!
LJ                                                                                                      ''
                                                                                                         i/
                                                                                                               On which line in Part 1 did you enter the creditor? _ _

II         Name                                                                                         ::
                                                                                                        1,
                                                                                                               Last 4 digits of account number _ _ _ _

I                                                                                                       11
!          Number        Street
 :


           City                                          State         ZIP Code                          ,:
       ----------------------------------·---------------------------,
     LJ                                 :: On which line in Part 1 did .you enter the creditor? _'_
                                                                                                         ;l
           Name                                                                                          !,    Last 4 digits of account number _ _ _ _
                                                                                                         ;·
           Number         Street




           City                                          State         ZIP Code


     LJ - - - - - - - - - - - - - - - - - - - - - - - - - - - -
           Name                                                                                          ,.
                                                                                                               On which line in Part 1 did you enter the creditor?

                                                                                                               Last4digitsofaccountnumber _ _ _ _
                                                                                                                                                                       _i_

                                                                                                         \:

           Number         Street




           City                                          State         ZIP Code



     'official Form 106D                         Part 2 of Schedule D: Credit9rs Who Have Claims Secured by Property                                                  page~ot_3
                                                                                !
                            Case 8-18-76800-ast                                 Doc 13                 Filed 10/26/18                Entered 10/26/18 14:44:25


     Fill in this information to identify your case:

     Debtor 1             Frenny                                                                  Ma'.riano
                           First Name                          Middle Name                        Last Name

     Debtor 2
     (Spouse, if filing) First Name                            Middle Name                        Lest NSme


     United States Bankruptcy Court for the: Eastern District of New York

     Case number           8-18-76800-ast                                                                                                                                          •    Check if this is an
         (If known)                                                                                                                                                                     amended filing


. Official Form 106E/F                                                                                 i
; Schedule E/F: Creditors Who Ha~e Unsecured Claims                                                     I
                                                                                                                                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditor!i with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
  List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
  A/B: Property (Official Form 106A/B) and on Schedule G: ExecutQry Contracts and Unexpired Leases (Official Form 106G). Do not include any
  creditors with partially secured claims that are listed in Schedule! D: Creditors Who Have Claims Secured by Property. If more space is
  needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
: any additional pages, write your name and case number (if known).                                                                     I
!

                       List All of Your PRIORITY Unsecured Claims
                                                                                                        I
    1. Do any creditors have priority unsecured claims against you?,
           •       No. Go to Part 2.                       ·                                            ·
, liZI-:---:-~-----------
,-·-
        Yes.                                ---------------.-·       -----      --   -:-      ~··--   •j.•---------·--···          ··;··-   -       -.-------.---    ---   ----,-----      :.-,,··--   --·-··---
1   2.     List all of your priority unsecured. claims. If a creditor has mar~ than one priority unsec,ured claim_, list the creditor separately for each claim. For
           each claim listed; identify what type-of claim it is. If a claim_ has both priority and nonpriority amounts, list tharclaim here and show both priority·and
           ncinpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
           unsecured claims, fill out the Continuation Page of Part 1. If m_ore than one creditor holds a particular claim, list the other creditors in Part 3. ·
                                        :                       'e      ,            •                  I,
           (For an explanation of each type of claim, see the instructions for tpis form in the instruction booklet.) ____ _
                                                                                                            ,                                                Lf~tii~i~i~---- ---Pr'i~rity- -~-,i~n~ri~rity-
                                                                                                                                                                 .                amount           amount
                                                                                                            i
               State Of California Franchise Tax Bo                                  Last 4 digits of account number           3      5         3        1   $       477 58   $     477 58 $_ _ __
             Priority Creditors Name                                                                        I                - - - -
                                                                                                            1
               PO BOX 942867                                                         When was the
                                                                                                I
                                                                                                  debt incurred?              12/31/2014
             Number           Street
                                                                                                            !
                                                                                     As of the date you file, the claim is: Check all that apply.
               SACRAMENTO                            CA        94267                                        I
                                                                                         0    Contingent
             City

             Who incurred the debt? Check one.
                                                   State        ZIP Code
                                                                                     •        Unliquidat~d
                                                                                         0    Disputed !
             ~ Debtor 1 only                                                                        I
             0      Debtor 2 only                                                        Type of PRIORITY unsecured claim:
             0
             0
                    Debtor 1 and Debtor 2 only
                    At least one of the debtors and another
                                                                                         •                  I
                                                                                              Domestic support obligations
                                                                                         id   Taxes and;certain other debts you owe the government
             0      Check if this claim is for a community debt                          0    Claims for ~death or personal injury while you were
             Is the claim subject to offset?                                                  intoxicated
             id No                                                                       0    Other. SpJcify _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                            I
               D    Yes                                                                                     '
2.2                                                                                      Last 4 digits ff account number _           _      _        _       $ - ~ - - - $._ _ _ _.;.ii $_ _ _ _ _
             Priority Creditors Name                                                                                                                                                                               1
                                                                                         When was the debt incurred?
                                                                                                                I
                                                                                                             I
             Number           Street
                                                                                         As of the dat~ you file, the claim is: Check all that apply.
                                                                                         D    ContingenJ
             City                                  State        ZIP Code                 0    UnliquidatJd
             Who incurred the debt? Check one.                                           D    Disputed ;
               0    Debtor 1 only                                                                               i
                                                                                         Type of PRIORITY unsecured claim:
               0    Debtor 2 only
                                                                                         0    Domestic Jupport obligations
               0    Debtor 1 and Debtor 2 only
               0    At least one of the debtors and another
                                                                                         0                      1
                                                                                              Taxes and certain other debts you owe the government
                                                                                         0    Claims for ~eath or personal injury while you were
               0    Check if this claim is for a community debt                               intoxicated\
               Is the claim subject to offset?                                           0    Other. Spe~ify _ _ _ _ _ _ _ _ _ _ _ __
               •    No
               D    Yes

                                                                                                                    '
    Official Form 106E/F                                                    Schedule EIF: Creditors Who Have Unsecured Claims                                                             page 1 of     il
                       Case 8-18-76800-ast                         Doc 13           Filed 10/26/18             Entered 10/26/18 14:44:25

Debtor 1           Frenny                                                  Mariano                         Case number (if known)   8-18-76800-ast
                   First Name     Middle Name          Last Name


                   Your PRIORITY Unsecured Claims - Continuat)on Page

: After listing any entries on this page, number them beginning_ with. 2.3, followed by 2.4, and so forth,                           Total claim   Priority   Nonpriority
                                                                                                                                                   amount     amount


                                                                    Last 4 digits of account number                                 $_ _ _ _ _ $_ _ __        $_ _ _ ___,
                                                                                    I                   - - - -
      Priority Creditors Name

                                                                    When was th~ debt incurred?
      Number            Street

                                                                    As of the date you file, the claim is: Check all that apply.

                                                                    D   Contingent
      City                                State   ZIP Code          •   UnliquidatJd
                                                                    D   Disputed ;
      Who incurred the debt? Check one.
      D      Debtor 1 only                                          Type of PRl(?RITY unsecured claim:
      D      Debtor 2 only
                                                                    D   Domestic support obligations
      D      Debtor 1 and Debtor 2 only
                                                                    D   Taxes and'.certain other debts you owe the government
      D      At least one.of the debtors and another
                                                                    D   Claims for death or personal injury while you were
                                                                        intoxicated
      D Check if this claim is for a community debt
                                                                    D   Other. Spe_cify _ _ _ _ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      •      No
      D      Yes


                                                                    Last 4 digits ?f account number _ _ _ _                         $_ _ _ _ _ $_ _ __        $_ _ _ _-l
      Priority Creditors Name

                                                                    When was th~ debt incurred?
      Number            Street                                                       I


                                                                    As of the date you file, the claim is: Check all that apply.

                                                                    D   Contingent
      City                                State   ZIP Code
                                                                    •   Unliquidat~d

      Who incurred the debt? Check one.
                                                                    •   Disputed '

                                                                                        I

      D      Debtor 1 only                                          Type of PRl~RITY unsecured claim:
      D      Debtor 2 only
                                                                    D   Domestic iupport obligations
      D      Debtor 1 and Debtor 2 only
                                                                    D   Taxes and :certain other debts you owe the government
      D      At least one of the debtors and another
                                                                    D   Claims for death or personal injury while you were
                                                                        intoxicated!
      D      Check if this claim is for a community debt
                                                                    D   Other. Spe~ify _ _ _ _ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      •      No
      D      Yes


                                                                    Last 4 digits   of account number _ _ _              _          $._ _ _ _ _ $._ _ __      $_ _ _ _ _ ,
      Priority Creditors Name

                                                                    When was the debt incurred?
      Number             Street
                                                                                        I
                                                                    As of the dat~ you file, the claim is: Check all that apply.

                                                                    D   Contingent:
      City                                State   ZIP Code          •   Unliquidated
                                                                    D   Disputed
      Who incurred the debt? Check one.
      D      Debtor 1 only                                          Type of PRIORITY unsecured claim:
      D      Debtor 2 only
                                                                    D   Domestic s,upport obligations
      D      Debtor 1 and Debtor 2 only
                                                                    D   Taxes and ~ertain other debts you owe the government
      D      At least one of the debtors and another
                                                                    D   Claims for death or personal injury while you were
                                                                        intoxicated
      D      Check if this claim is for a community debt
                                                                    D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ __

      Is the claim subject to offset?
      •      No
      D      Yes


Official Form 106E/F                                     Schedule E/F: Credit~rs Who Have Unsecured Claims                                                    page2ot_ll
                           Case 8-18-76800-ast                           Doc 13        Filed 10/26/18                   Entered 10/26/18 14:44:25

 Debtor 1              Frenny                                                        Madano                        Case number (if known)   8-18-76800-ast
                       First Name      Middle Name           Lest Name



•,s,T• - . . -        List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
      D     No. You have nothing to report in this part. Submit this form to' the court with your other schedules.
       ~~                                                                               :                           .


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim; list the other creditors in Part 3.lf you have more than three nonpriority unsecured
      claims fill out the Continuation Page_ of Part 2.
                                                                                                                                                                       f . ..   . .. -- .. -
                                                                                                                                                                       I    Total claim

8       American Express
         Nonpriority Creditor's Name
                                                                                              Last 4 digits of account number       _1_ _Q_ _Q_ _§_                    $_ _1_,0_9_2._00_
                                                                                              When was the debt incurred?            04/07/2017
         PO Box 1270
         Number             Street

         Newark                                           NJ               07101
         City                                             State           ZIP Code            As of the date you file, the claim is: Check all that apply.

                                                                                              D   Contingent
         Who incurred the debt? Check one.                                                    D   Unliquidated
         IZf Debtor 1 only                                                                    D   Disputed
         D Debtor 2 only
         D      Debtor 1 and Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
         D      At least one of the debtors and another                                       D   Student loans

         D Check if this claim is for a community debt                                        D   Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
         Is the claim subject to offset?                                                      D   Debts to pension or profit-sharing p_lans, and other similar debts
         IZf     No                                                                           D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
         D      Yes


~        BANK OF AMERICA                       C,re&i_l Cw&$                                  Last 4 digits of account number
                                                                                              When was the debt incurred?
                                                                                                                                     _Q_ _§_ _± _§_
                                                                                                                                      12/31/2017
                                                                                                                                                                       $_ _6_,5_5_2_.o_o_,

         Nonpriority Creditor's Name

         PO BOX 982238
         Number              Street
                                                          TX               79998              As of the date you file, the claim is: Check all that apply.
         EL PASO
         City                                             State           ZIP Code
                                                                                              D   Contingent

         Who incurred the debt? Check one.                                                    D   Unliquidated ·

         IZf     Debtor 1 only
                                                                                              D   Disputed

       .D        Debtor 2 only
                                                                                              Type of NONPRIORITY unsecured claim:
         D Debtor 1 and Debtor 2 only
         D At least one of the debtors and another                                            D   Student loans
                                                                                              D   Obligations arising out of a separation agreement or divorce
         D       Check if this claim is for a community debt                                      that you did not report as priority claims

         Is the claim subject to offset?                                                      D   Debts to pension or profit-sharing plans, and other similar debts
                                                                                              D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
         IZf     No
         D       Yes

43
 -      _ BANK          oF AMERICA
         Nonpriority Creditor's Name
                                                c.,~~l- Li}( ks                               Last 4 digits of account number        __9_ __5_ __5_ ----9.
                                                                                                                                                                           $- - - -2,569.00
                                                                                                                                                                                   '-----
                                                                                              When was the debt incurred?             12/31/2017
          PO BOX 982238
         Number              Street
          EL PASO                                          TX              79998              As of the date you file, the claim is: Check all that apply.
         City                                             State           ZIP Code

                                                                                              D   Contingent
         Who incurred the debt? Check one.
                                                                                              D   Unliquidated
         !;ii' Debtor 1 only                                                                  D   Disputed
         D Debtor 2 only
         D Debtor 1 and Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
         D At least one of the debtors and another
                                                                                              D   Student loans
         D       Check if this claim is for a community debt                                  D   Obligations arising out of a separation agreement or divorce
                                                                                                  that you did not report as priority claims
         Is the claim subject to offset?
                                                                                              D   Debts to pension or profit-sharing plans, and other similar debts
          !;ii' No                                                                            D   Other. Specify _ _ _ _ _ _ _ _ _ _ _ _ _ __
          D Yes


Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                               page:J_ofJi_
                        Case 8-18-76800-ast                                          Doc 13           Filed 10/26/18                      Entered 10/26/18 14:44:25

Debtor 1            Frenny                                                                          Madano                              Case number (if known) 8-18-76800-ast
                    First Name        Middle Name                     Last Name




                   Your NONPRIORITY Unsecured Claims - Continuation Page
                         I


 After listing any entries on this page, number them beginning with 4.4, followed by.4.5, and so forth.I     •
                                                                                                                                                                                               Total claim
                                          - -   -   -   --"   -,    "···-- .   ---   .

4.4
      Bank of America                                                                                            Last 4 digits of account number          JL _J_ __§_      _1_
                                                                                                                                                                                               $    803.43
      Nonpriority Creditor's Name
                                                                                                                 When was the debt incurred?              09/19/2018
      PO BOX 982284
      Number             Street
                                                                                                                 As of the date you file, the claim is: Check all that apply.
      El      Paso                                                 TX                     79998
      City                                                         State                 ZIP Code                D       Contingent
                                                                                                                 D       Unliquidated
      Who incurred the debt? Check one.                                                                          D       Disputed
      !;ii' Debtor 1 only
      D       Debtor 2 only                                                                                      Type of NONPRIORITY unsecured claim:
      D       Debtor 1 and Debtor 2 only
                                                                                                                 D       Student loans
      D       At least one of the debtors and another
                                                                                                                 D       Obligations arising out of a separation agreement or divorce that
                                                                                                                         you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                                                                 D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                            lill'   Other. Specify overdrawn closed account
      lilf' No
      D       Yes



4.5
                                                                                                                 Last 4 digits of account number           __§__ _l__   ~ ~                    $   7,682.00
      Capital One
      Nonpriority Creditor's Name
                                                                                                                 When was the debt incurred?               12/31/2017
      PO Box6492
      Number                 Street
                                                                                                                 As of the date you file, the claim is: Check all that apply.
      Carol Stream                                                  IL                    60197
      City                                                         State                 ZIP Code                D       Contingent
                                                                                                                 D       Unliquidated
      Who incurred the debt? Check one.                                                                          D       Disputed
      !;ii' Debtor 1 only
      D Debtor 2 only                                                                                            Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                                               D       Student loans
      D At least one of the debtors and another                                                                  D       Obligations arising out of a separation agreement or divorce that
                                                                                                                         you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                                                                 D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offi;et?                                                                           lill'   Other. Specify_C_re_d_it_ca_r_d_ _ _ _ _ __
      lill'No
      D       Yes


~-6                                                                                                                                                                                            $ 4,407.17
      Chase Card Service
                                                                                                                 Last 4 digits of account number           JL __§__ __Q_ __J_
      Nonpriori!y Creditor's Name
                                                                                                                 When was the debt incurred?               02/24/2017
      PO Box 15548
      Number                 Street
                                                                                                                 As of the date you file, the claim is: Check all that apply.
      Wilmington                                                    CA                    19886
      City                                                         State                 ZIP Code                D       Contingent
                                                                                                                 D       Unliquidated
      Who incurred the debt? Check one.                                                                          D       Disputed
      !;ii' Debtor 1 only
      D Debtor 2 only                                                                                            Type of NONPRIORITY unsecured claim:
      D Debtor 1 and Debtor 2 only                                                                               D       Student loans
      D At least one of the debtors and another                                                                  D       Obligations arising out of a separation agreement or divorce that
                                                                                                                         you did not report as priority claims
      D       Check if this claim is for a community debt
                                                                                                                 D       Debts to pension or profit-sharing plans, and other similar debts -
      Is the claim subject to offset?                                                                            lill'   Other. Specify_C_re_d_it~ca_r_d_ _ _ _ _ __
      fill'   No
      D       Yes




Official Form 106E/F                                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                                   pageYf_of..lL
                        Case 8-18-76800-ast                                 Doc 13        Filed 10/26/18              Entered 10/26/18 14:44:25

'Debtor 1           Frenny                                                             Mariano                      Case number (ii known) 8-18-76800-aSt
                    First Name      Middle Name                 Last Name




                 Your NONPRIORITY Unsecured Claims - Conti~uation Page
                                                                                           '
'                                                                                          ,                                       F
, After listing any entries on this page, number them be.ginning with 4.4, followed by 4.5, and so forth.                                                                Total claim
!                                                                            .             I                            '


                                                                                                                                                            -·---· - --- -------l
4.7
       Chase Bank
                                                                                                 Last 4 digits of account number       _g__ _]_ i_ _Q_                   $ 1,350.54
      Nonpriority Creditors Name
                                                                                                 When was the debt incurred?           07/31/2018
       PO Box 659732
      Number             Street
                                                                                                 As of the date you file, the claim is: Check all that apply.
       San Antonio                                           TX              78265
      City                                                   State          ZIP Code             D   Contingent
                                                                                                 0   Unliquidated
      Who incurred the debt? Check one.                                                          0   Disputed
       ~ Debtor 1 only
      0       Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
      0       Debtor 1 and Debtor 2 only
                                                                                                 D   Student loans
      D       At least one of the debtors and another
                                                                                                 0   Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
      0       Check if this claim· is for a community debt
                                                                                                 D   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                            ~   Other. Specify   overdrawn closed checking
      ~No
       D      Yes



4.8
                                                                                                 Last 4 digits of account number _]_ ~            _Q_   ~                $ 4 598.07
       CitiBank
      Nonpriority Creditors Name
                                                                                                 When was the debt incurred?           12/15/2016
       PO Box 70166
      Number              Street
                                                                                                 As of the date you file, the claim is: Check all that apply.
       Philadelphia                                           NY             19176
      City                                                   State          ZIP Code             D   Contingent
                                                                                                 0   Unliquidated
      Who incurred the debt? Check one.                                                          0   Disputed
       ~ Debtor 1 only
       0      Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
       0      Debtor 1 and Debtor 2 only                                                         D   Student loans
       0      At least one of the debtors and another
                                                                                                 0   Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                                 0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset_? __                                                        ~   Other. Specify--"C~re~d=i~t~C~a"'"rd=-------
       ~No
       0      Yes


4.9                                                                                                                                                                      $ 2,563.78
                                                                                                 Last 4 digits of account number       _±._   ~   _l_ _1_
       Discover
       Nonpriority Creditors Name                 ~   Ii'.
                                                                                                 When was the debt incurred?           07/20/2018
       27005 PO Box 71084 . -
       Number             Street
                                                                                                 As of the date you file, the claim is: Check all that apply.
       Charlotte                                              NC             28272
       City                                                  State          ZIP Code             0   Contingent
                                                                                                 0   Unliquidated
       Who incurred the debt? Check one.                                                         D   Disputed
       ~ Debtor 1 only
       0      Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
       0      Debtor 1 and Debtor 2 only
                                                                                                 D   Student loans
       0      At least one of the debtors and another                                            0   Obligations arising out of a separation agreement or divorce that
                                                                                                     you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                                 0   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                           ~   Other. Specify-'-'-ho~s=p~it=a~I= b = i l l ~ - - - - -
       lil( No
       D      Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                   page5:ofll
                           Case 8-18-76800-ast                       Doc 13         Filed 10/26/18                 Entered 10/26/18 14:44:25

 Debtor 1              Frenny                                                    Mariano                       Case number (ii known) 8-18-76800-ast
                       First Name       Middle Name      Last Name




                   Your NONPRIORITY Unsecured Claims - Contir,uation Page


: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                             Total claim



          Long Island Jewish Medical Center ·
                                                                                           Last 4 digits of account number               JL _Q_ _1_ .l_                   362.88
                                                                                                                                                                     $· - - ---l
          Nonpriority Creditor's Name
                                                                                           When was the debt incurred?                   04/08/2018
          27005 76th Ave
          Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.
          New Hyde Park                                NY              11787
          City                                        State          ZIP Code              D   Contingent
                                                                                           D   Unliquidated
          Who incurred the debt? Check one.                                                D   Disputed
          i;il' Debtor 1 only
          D Debtor 2 only                                                                  Type of NON PRIORITY unsecured claim:
          D Debtor 1 and Debtor 2 only                                                     D   Student loans
          D At least one of the debtors and another                                        D   Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
          D      Check if this claim is for a community debt
                                                                                           D   Debts to pension or profit-sharing plans, and other similar debts
          Is the cla_im subject to offset?                                                 ~   Other. Specify_:_:h.::.o=.Jspc:..;i~ta::.:I-=b:.:;il:.:_I_ _ _ _ __
          ~No
          D      Yes



4. il                                                                                      Last 4 digits of account number               _§__   JL JL JL             $   233.83
          North Shore University Hospital at Manhasset-
          Nonpriority Creditor's Name
                                                                                           When was the debt incurred?                   08/24/2017
          PO BOX 9036
          Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
          Syosset                                      NY              11791
          City                                        State          ZIP Code              D   Contingent
                                                                                           D   Unliquidated
          Who incurred the debt? Check one.                                                D   Disputed
          !;ii' Debtor 1 only
          D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
          D Debtor 1 and Debtor 2 only                                                     D   Student loans
          D At least one of the debtors and another                                        D   Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
          D      Check if this claim is for a community debt
                                                                                           D   Debts to pension or profit-sharing plans, and other similar debts
          Is the cl~im subject t~ _off!;et?                                                D   Other. Specify_:.:hc:::O.=S,::p.,_,it"'a,_I_ _ _ _ _ __
          ~No
          D Yes

  ,t'l.                                                                                                                                                              $._ _125.62
                                                                                                                                                                           _ _- l
          Northwell Health
                                                                                           Last 4 digits of account number               JL _§_ JL _]_
          Nonpriority Creditor's Name
                                                                                           When was the debt incurred?                   03/31/2018
           PO Box28372
          Number             Street
                                                                                           As of the date you file, the claim is: Check all that apply.
           New York                                    NY              10087
          City                                        State           ZIP Code             D   Contingent
                                                                                           D   Unliquidated
          Who incurred the debt? Check one.                                                D   Disputed
          l;il' Debtor 1 only
          D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
          D Debtor 1 and Debtor 2 only                                                     D   Student loans
          D At least one of the debtors and another                                        D   Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
          D      Check if this claim is for a community debt
                                                                                           D   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                  ~ Other. Specify Noah Mariano son
          ~No
          D Yes



Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page~ of      1L
                        Case 8-18-76800-ast                            Doc 13         Filed 10/26/18                   Entered 10/26/18 14:44:25
I                                                                                     '
IDebtor 1
I
                    Frenny                                                        Mariano                            Case number (itknown) 8-18-76800-ast
                    First Name          Middle Name        Last Name
i

                  Your NONPRIORITY Unsecured Claims - Conti~uation Page


· After listing any entries on this page, number them beginning wit~ 4.4, followed by 4.5, and so forth.                                                                  Total claim



       North Shore               LIJ   Medical Group
                                                                                              Last 4 digits of account number           _§__ .l._ _1_   ~                       111.25
                                                                                                                                                                          $
      Nonpriority Creditors Name
                                                                                              When was the debt incurred?              04/08/2018
       PO BOX33720
      Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
       Detroit                                           NY             48232
      City                                              State          ZIP Code               D       Contingent
                                                                                              D       Unliquidated
      Who incurred the debt? Check one.                                                       D       Disputed
      ~ Debtor 1 only
      D       Debtor 2 only                                                                   Type of NONPRIORITY unsecured claim:
      D       Debtor 1 and Debtor 2 only
                                                                                              D       Student loans
      D       At least one of the debtors and another
                                                                                              D       Obligations arising out of a separation agreement or divorce that
                                                                                                      you did not report as priority claims
       D Check if this claim is for a community debt
                                                                                              D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                         iia'    Other. Specify_h_o_s~p_it_a_l- - - - - - -
      iia' No
      D       Yes




       South Nassau Community Hospital
                                                                                              Last 4 digits of account number           _g__ JL    ~    JL                $     337.66
      Nonpriority Creditors Name
                                                                                              When was the debt Incurred?               04/19/2018
       PO BOx 9036
      Number              Street
                                                                                              As of the date you file, the claim is: Check all that apply.
       Syosset                                           NY             11791
      City                                              State          ZIP Code               D       Contingent
                                                                                              D       Unliquidated
      Who incurred the debt? Check one.                                                       D       Disputed
       l;if' Debtor 1 only
       D Debtor 2 only                                                                        Type of NONPRIORITY unsecured claim:
       D Debtor 1 and Debtor 2 only                                                           D       Student loans
       D      At least one of the debtors and another
                                                                                              D       Obligations arising out of a separation agreement or divorce that
                                                                                                      you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                              D       Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to o!fse~?___ __ ·-                                                !iii'   Other. Specify-'-'h~O~SP~ita=I'---------
       iia' No
       D      Yes


                                                                                                                                                                             817.66
                                                                                                                                                                          $_ _ _ _-l
       South Nassau Community Hospital
                                                                                              Last 4 digits of account number           _§__   i i JL
       Nonpriority Creditors Name
                                                                                              When was the debt incurred?               08/14/2018
       PO Box 5635
       Number             Street
                                                                                              As of the date you file, the claim is: Check all that apply.
       Hicksville                                        NY             11802
       City                                             State          ZIP Code               D       Contingent
                                                                                              D       Unliquidated
      Who incurred the debt? Check one.                                                       D       Disputed
       l;if' Debtor 1 only
       D Debtor 2 only                                                                        Type of NONPRIORITY unsecured claim:
       D      Debtor 1 and Debtor 2 only                                                      D       Student loans
       D      At least one of the debtors and another                                         D       Obligations arising out of a separation agreement or divorce that
                                                                                                      you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                              D       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                        ~ Other. Specify Catalina Mariano
       liif' No
       D Yes


                                                                                          I

Official Form 106E/F                                            Schedule E/F: Credit"rs Who Have Unsecured Claims                                                             page1of_il
                           Case 8-18-76800-ast                              Doc 13             Filed 10/26/18                            Entered 10/26/18 14:44:25

Debtor 1               Frenny                                                           Mari1no                                     Case number (ii known) 8-18-76800-ast
                       First Name         Middle Name           Last Name



                   Your NONPRIORITY Unsecured Claims - Continuation Page
                                                                                               I
                                          .       .                                            l                 .
After listing any entries on this page, number them beginning wi_th 4.4;followed by 4.5; and so.forth.                                                                                    Total.claim
    •                                                                        -                 I '


                  -·   -- ---- __ -- ----------·-- ---···-·---
                                      ,                           -----·--· -··--------- ---   --- -
                                                                                               '
                                                                                                         ...   ----· - -- - ------ ---- -- - --· ··---'~-n;-~-3--· --~-
         Synchrony Bank/Amazon
                                                                                                               Last 4 digits of acc~unt number        ~           $    2f""              , $ 1,631.43
         Nonpriority Creditor's Name
                                                                                                               When was the debt incurred?            04/04/2017
         PO Box 960013
         Number             Street
                                                                                         !                     As of the date you file, the claim is: Check all that apply.
         Orlando                                           fl                    32896
         City                                             State              ZIP Code                          D     Contingent
                                                                                                               D     Unliquidated
         Who incurred the debt? Check one.                                                                     D     Disputed
         !;a' Debtor 1 only
         D Debtor 2 only                                                                                       Type of NONPRIORITY unsecured claim:
         D      Debtor 1 and Debtor 2 only
                                                                                                               D     Student loans
         D At least one of the debtors and another                                                             D Obligations arising out of a separation agreement or divorce that
                                                                                                                 you did not report as priority claims
         D      Check if this claim is for a community debt
                                                                                                               D Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                                       ~ Other. Specify_Cr_e_d_it~c_a_r_d_ _ _ _ _ __
        · ~No
          D Yes


,\'.\                                                                                                          Last 4 digits of account number        _±._ _Q__ _±._ _±._                 $._3_6_8_.75___,
         Target Card Services
         Nonpriority Creditor's Name
                                                                                                               When was the debt incurred?            12/31/2017
         PO Box 660170
         Number             Street
                                                                                                               As of the date you file, the claim is: Check all that apply.
         Dallas                                            TX                    75266
         City                                             State              ZIP Code                          D     Contingent
                                                                                                               D     Unliquidated
         Who incurred the debt? Check one.                                                                     D     Disputed
         ~ Debtor 1 only
         D Debtor 2 only                                                                                       Type of NONPRIORITY unsecured. claim:
         D Debtor 1 and Debtor 2 only                                                                          D     Student loans       •
         D At least one of the debtors and another                                                             D     Obligations arising out of a separation agreement or divorce that
                                                                                                                     you did not report as priority claims
         D      Check if this claim is for a community debt
                                                                                                               D     Debts to pension or profit-sharing plans, and other similar debts
         Is the clc~_i_m _i;_ubject to o~et?_                                                                  ~ Other. Specify Credit CArd
         ~No
         D      Yes


                                                                                                                                                                                              549.77
                                                                                                                                                                                          $._ _ _ _-I
         TD BAnk                                                                                               Last 4 digits of account number        ~ - 9 _Q__
         Nonpriority Creditor's Name
                                                                                                               When was the debt in          ur~/31/2018
         PO BOX 5093
         Number              Street

          MT Laurel                                        NJ
         City                                             State


         Who incurred the debt? Check one.
         !;a' Debtor 1 only
         D Debtor 2 only
         D Debtor 1 and Debtor 2 only
         D At least one of the debtors and anoth                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                                                       u did not report as priority claims
                                                                                                                     De s to pension or profit-sharing plans, and other similar debts
         Is the claim subject to o                                                                                   Other.     pecify   overdrawn Checking
         litf No
          D Yes



0fficial Form 106E/F
                                                                                                     '
                                                                  Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                     I
                                                                                                                                                                                           pageB_ of    ll
                        Case 8-18-76800-ast                             Doc 13        Filed 10/26/18                 Entered 10/26/18 14:44:25

Debtor 1            Frenny                                                         Mariano                         Case   number(ilknown)   8-18-76800-ast
                    First Name        Middle Name           Last Name




                 Your NONPRIORITY Unsecured Claims - Contitjuation Page
                                                                                       t
                                                                                       i'
· After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ,                                                              Total claim
                                                                                       I,
                                                                             -·-------,··

                                                                                             Last 4 digits of account number _ _ _ _
                                                                                                                                                                        $     220.85
       N_onpriority Creditor's Name
                                                                                             When was the debt incurred?                03/01/2018
       500 Technology Dr
       Number            Street
                                                                                             As of the date you file, the claim is: Check all that apply.
       Weldon Spring                                      MO             63304
       City                                              State          ZIP Code             D      Contingent
                                                                                             D      Unliquidated
       Who incurred the debt? Check one.                                                     D      Disputed
       ~ Debtor 1 only
       D      Debtor 2 only                                                                  Type of NON PRIORITY unsecured claim:
       D      Debtor 1 and Debtor 2 only
                                                                                             D      Student loans
       D      At least one of the debtors and another
                                                                                             D      Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                             D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                       lit{   other. Specify Collection acct
       lit{ No
       D Yes


 .io                                                                                         Last 4 digits of account number            _1_ _Q_ _1_ .L                  $     380.44
       Witnthrop- University Hospital
       Nonpriority Creditor's Name
                                                                                             When was the debt incurred?                04/14/2018
       PO Box 9562
       Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.
       Uniondale                                          NY             11555
       City                                              State          ZIP Code             D      Contingent
                                                                                             D      Unliquidated
       Who incurred the debt? Check one.                                                     D      Disputed
       !;a' Debtor 1 only
       D Debtor 2 only                                                                       Type of NONPRIORITY unsecured claim:
       D Debtor 1 and Debtor 2 only                                                          D      Student loans
       D At least one of the debtors and another                                             D      Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                             D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subjec~ to o~et?                                                         litf   Other. Specify Catalina Mariano hospital
       litf No
       D      Yes


                                                                                                                                                                        $_ _ _ __,
                                                                                             Last 4 digits of account number _ _ _ _
       Nonpriority Creditor's Name
                                                                                             When was the debt incurred?

       Number             Street
                                                                                             As of the date you file, the claim is: Check all that apply.

       City                                              State          ZIP Code             ••     Contingent
                                                                                             D      Unliquidated
       Who incurred the debt? Check one.                                                     D      Disputed
       D      Debtor 1 only
       D      Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
       D      Debtor 1 and Debtor 2 only                                                     D      Student loans
       D      At least one of the debtor's and another                                       D      Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
       D      Check if this claim is for a community debt
                                                                                             D      Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                       D      Other. Specify_ _ _ _ _ _ _ _ _ _ _ __

       •      No
       D      Yes




0fficial Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                          page~ofil_
                       Case 8-18-76800-ast                             Doc 13         Filed 10/26/18                     Entered 10/26/18 14:44:25

Debtor 1          Frenny                                                           Mariano                             Case number (if known) 8-18-76800-ast
                   First Name      Middle Name             Last Name



                  List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Ltn,li G7Ueck 6u,.reo.u...,Jnc.
      Name
                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?


      Po Boti                     14D3 \0                                             Line~ of ' ( Check one):               •    Part 1: Creditors with Priority Unsecured Claims
      Number             Strei                                                                                               l!1" Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                       Last 4 digits of account number             1_3_ Q_ 1._
     Clty:...,,._ _ _ _ _ _ _ _ _ _ _s,;.;ta;_;te;____ _ _z_1P_;C_o_de_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



      ~-lLantf One
      Name
                                                                                       bn which entry in Part 1 or Part 2 did you list the original creditor?


      t\t65D S+u:ee:\-                                                                 Line    L\. •j':+ of   (Check one):   •    Part 1: Creditors with Priority Unsecured Claims
      Number             Street                                                                                              lirPart 2: Creditors with Nonpriority Unsecured
                                                                                       Claims
                                                                                       i



                                                                                       ~ast 4 digits of account number             !1._ S::.. ~ g_
                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
      Name


      Po                   f?Jox                 102.u                                 Line :I..Ji,of ( Check one):          •    Part 1: Creditors with Priority Unsecured Claims
      Number             Street     '                                                                                        ilJ;part 2: Creditors with Nonpriority Unsecured
           oepj:                  130£                                                 Claims

       fA0Y''?>)N;wn
      Ci
                       P~ 1q CHY                   State               ZIP Code
                                                                                       Last 4 digits of account number              Cs, .. ·) 3___)_

      ~~\la\~ \~~i~VWj g'._fL~ \\JN                                                    On which entry in Part 1 or Part 2 did you list the original creditor?


      Nuee) '{jff>x q® b                                                               Line W o t ( Check one):              •    Part 1: Creditors with Priority Unsecured Claims
                                                                                                                             ~art 2: Creditors with Non priority Unsecured
                                                                                       Claims

      S~
       i
         OS$e:A
      City
                                                  IJj \148t!
                                                   State               ZIP Code
                                                                                       Last 4 digits of accJunt number              2._ ~ ~~
                                                                                                                   I
                                                                                       On which entry in Pkrt 1 or Part 2 did you list the original creditor?

                                                                                       ~ine •-}. /) of (CheL one):
                                                                                               --                  I
                                                                                                                             •    Part 1: Creditors with Priority Unsecured Claims
                                                                                                                             ~Part 2: Creditors with Nonpriority Unsecured
                                                                                       Cl(ilims

                                                                   \ \'.Y?l)           Last 4 digits of account number"J                C, C, --:a_
      City                                                             _ZIP Code

                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?


                                                                                       Line ~Qr (Check one):                 •    Part 1: Creditors with Priority Unsecured Claims
      Number
             ,,
                         Street                                                                                              Er' Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims


      City                                         State               ZIP Code
                                                                                       ~ast 4 digits of account number              1_ D _j :f._
                                                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
      Name                                                                                 '                                                                           '


                                                                                       Line             of ( Check one):     •    Part 1: Creditors with Priority Unsecured Claims
      Number             Street
                                                                                                                              D   Part 2: Creditors with Nonpriority Unsecured
                                                                                           Claims


                                                                       ZIP Code
                                                                                           Last 4 digits of account number _             __ _
      City                                         State



Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             page lOot.tl
                        Case 8-18-76800-ast                       Doc 13      Filed 10/26/18              Entered 10/26/18 14:44:25

    Debtor 1       Frenny                                              Mariano                         Case number (if known) 8-18-76800-ast
                   First Name    Middle Name          Last Name




               Add the Amounts for Each Type of Unsecured 'rlaim


    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
       Add the amounts for each type of unsecured claim.             '                                                                  ,


                                                                                          '.
                                                                                          l    Total claim

l
,T        ·• ; 6a. Domestic support obligations                                     6a.
. ota 1claims,                                                                                 $
               1
\ fro~ Part        : 6b. Taxes and certain other debts you owe the
                          government                                                6b.        $                    477.58

                   . 6c. Claims for death or personal injury while you were
                         intoxicated                                                6c.
                                                                                               $

                   · 6d. Other. Add all other priority unsecured claims.
                         Write that amount here.                                    6d.   +$



                   ; 6e. Total. Add lines 6a through 6d.                            6e.
                                                                                               $                    477.58


                                                                                          !"
                                                                                               Total claim


    · Total claims:, 6f. Student loans                                              6f.
                                                                                                $·
    ; from Part 2 : 69. Obligations arising out of a separation agreement
                  ·     or divorce that you did not report as priority '
                        claims                                                      69.         $

                     6h. Debts to pension or profit-sharing plans, and other
                         similar debts                                              6h.        $

                     6i. Other. Add all other nonpriority unsecured claims.
                         Write that amount here.                                    6i.       +$                36,758.13


                     6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                   $            36,758.13
    '
    f-   - --~---




     I

     I                                                                                                                                         page llotlL
     ,Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims
                                            Case 8-18-76800-ast                   Doc 13                  Filed 10/26/18        Entered 10/26/18 14:44:25



                      Fill in this information to identify your case:


                      Debtor              Frenny                                                  Ma~iano
                                          First Name              Middle Name                     Last Name

                      Debtor2
                                                                                                          !
                      (Spouse lffiling)   First Name              Middle Name                     Last Name

                                                                                                                                                                            i
                      United States Bankruptcy Court for the: Eastern District of New York                                                                                  I


                      Case number
                       (If known)
                                          ~ • i~ 3::(~ :8 CO - Cl.£+                                                                                               •
                                                                                                                                                                            I
                                                                                                                                                                       Che~k if this is an
                                                                                                                                                                       amended filing
        I
        I
        '
        !Official Form 106G                                                                               1

        ISchedule G: Executory Contract~' and Unexpired Leases
        '
                                                                                                                                                                                 12/15
        j Be as complete and accurate as possible. If two married people a~e filing together, both are equally responsible for supplying correct
        I information. If more space is needed, copy the additional page, .fi1:1 it' out, number the entries, and attach it to this page. On the top of any
        Iadditional pages, write your name and case number (if known).                                     :
                                                                                                           I



                     1. Do ~ou have. any executory contracts or unexpired leases? I
                           !;a   No. Check this box and file this form with the court with your qther schedules. You have nothing else to report on this form.
                           D     Yes. Fill in all of the information below even if the contracts o~ leases are listed on Schedule AIB: Property (Official Form 106A/B).
                                                                                                           I

                     2. List separately each person or company with whom you hav~ the contract or lease. Then state what each contract or lease is for (for
                           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
                           unexpired leases.                                                !                                                                            .

        11.-· ... ---.····. ··- --· . ···-·· ---·· ·--·-··-··--·· ·-··----- - ..                    ·--·I.··------·-----··------·····-- -· ·--··•···----- -· ······•·-·-······           '   . t
         ;j                                                                                                                                                                                     '
            ,i             Person or compan'y with whom you have the contract or.leas'e                                    State what the contract or lease is for
                                    -                                  ·- .                                l
            ;1
                                                                                - - ·-   ·~-•~"- ---- -   -l   ;__                                                                .      .    1·,
            ~        2.1                                                                                                                                                                 '    IiII
            i
                           Name                                                                                                                                                               '.I
                                                                                                                                                                                              lj
                                                                                                                                                                                              ii
                           Number            Street                                                                                                                                           Ii11
                           City                               State      ZIP Code                                                                                                             ii
                1--.....-~-----------------------~------------------,1:
                     2.2
                                                                                                                                                                                              I!


                           Name                                                                                                                                                               1:
                                                                                                                                                                                              Ii
                                                                                                                                                                                              I',I
                           Number            Street                                                                                                                                           Ii
. -   -- :
                                                                                                                                                                                              ii
                                                                                                                                                                                              ii
            I!--.-'"""''-----~~---~~~-~-~-----------~-------------------~----•I
                           City                               State      ZIP Code

                i 2.3                                                                                                                                                                         i
                                                                                                                                                                                              :;
                           Name                                                                                                                                                               !1
                                                                                                                                                                                              l!\,
                            Number           Street                                                                                                                                           ,l
                                                                                                                                                                                              !!,,
                             Ci!}'
                     --,,...;;~~~-~-~~-~_,;;S;.;;ta;;ate;;...._,;Z;;.IP.....;;C"'o;;;.de;;....__________             =~~----~-------~-~--------i,
                     2.4                                                                                                                                                                      ii!I
                                                                                                                                                                                               1·
                            Name
                                                                                                                                                                                              ii:'
                            Number           Street                                                                                                                                            d
                                                                                                                                                                                               ,1

                                                                                                                                                                                               !'
                          City
                     -,...;;~--------~_.;;.;;ta;;.;te;;...._.;z
                                                      S       __   C d _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ ~ - - - - - - - - - - ; :!l
                                                               Ip .;;:..o.;;.e;;...
                                                                                                                                                                                              ,.
                1
                     2.s                                                                                                                                                                       !l
                                                                                                                                                                                              :1
                            Name

                            Number           Street
                                                                                                                                                                                               ,I
                                                                                                                                                                                               jl

                            fity                              State      ZIP Code
                                                                                                                                                                                               ,,"
                 ! .                                                                     --
                 :

                     Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of_
                       Case 8-18-76800-ast                              Doc 13   Filed 10/26/18      Entered 10/26/18 14:44:25


    Debtor 1-      Frenny                                                   Maria:no               Case number (itt<nown), _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name     Middle Name               Last Name




    ~              Additional Page if You Have More Contracts o~ Leases

         Person or company.with whom you have the contract or lea~e                             What the contract or lease is for
    ~    -- -

          Name


          Number        Street
                                                                                                                                                          ,,
                                                                                                                                                          ,,,
          City                                  State     ZIP Code                                                                                        ,,
                                                                                                                                                          '
    ~
          Name                                                                                                                                            .i
          Number        Street
                                                                                                                                                          '
                                                                                                                                                          f'
          City                                  State     ZIP Code
                                                                                                                                                          l:

.td       Name
                                                                                                                                                          !I1:'
                                                                                                                                                          !'
                                                                                                                                                          1:
          Number        Street


          City                                  State     ZIP Code                                                                                        ,,
      ----~-----~-=---~----------------------------------------:;
    ~     Name
                                                                                                                                                          ,I
                                                                                                                                                           ',
          Number        Street


          City                                  State     ZIP Code


:~        Name


          Number        Street


          City                                  State      ZIP Code
i
 -,=~==----==~----~==~---~~~=---~===--===---:--------~~--------,,
l~                                                                                                                                                         ,I
                                                                                                                                                           I

          Name

                                                                                                                                                           ,,i
          Number        Street                                                                                                                             :l

          City                                  State      ZIP Code



    ~     Name


          Number        Street


          City                                  State      ZIP Code



!~
          Name


          Number         Street


          City                                  State      ZIP Code



Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                              page_of_
                                  Case 8-18-76800-ast                                        Doc 13               Filed 10/26/18                            Entered 10/26/18 14:44:25


        Fill in this information to identify your case:


        Debtor 1             Frenny                                                                         Mari.ano
                              First Name                               Middle Name                           Last Name

        Debtor2
        (Spouse, iffiling) First Name                                  Middle Name                           Last Name


        United States Bankruptcy Court for the: Eastern District of New York

        Case number           8-18-76800-ast
         (If known)
                                                                                                                                                                                                   D Check if this is an
                                                                                                                                                                                                         amended filing

    Official Form 106H
I
'Schedule H·• Your Codebtors                                                                                                                                                                                      I        12/15
    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two rllarried people
    are filing together, both are equally responsible for supplying cortect information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additi6nal Page to this page. On the top of any Additional Pages, write your name and
                                                                       1
    case number (if known). Answer every question.                     ,                                                                                 '

                                                                                                                   i
                                                                                                                   I
        1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                                                                                                                   I
             ~~                                                                                                    !
i            D      Yes                                                                                            !
                                                                                                                   I
 ' 2. Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include
                                                                     !    .
''    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             D      No. Go to line 3.                                                                              [
             ~      Yes. Did your spouse, former spouse, or legal equivalent live rith you at the time?
i                   •~                                                                                             I

                    ~     Yes. In which community state or territory did you live.California                                                      . Fill in the name and current address of that person.
                                                                                -                                  I
                            Niurgui Imbert                                                                          I
                           Name of your spouse, former spouse, or legal equivalent
                                                                                                                   !I
                            149 Haig          Rd                                                                   !
I                          Number             Street                                                               I
                                                                                                                   l
                           Valley Stream                                             NY                                    11581
              --                                                                                                   '
                           City                                                      State                         i         ZIP Code
i
                                                                                                                   I
        3. In Column 1, list all of your codebtors. Do not include your s~ouse as a codebtor if your spouse is filing with you. List the person
            shown in line 2 again as a codebtor only if that person is a g~arantor or cosigner. Make sure you have listed the creditor on
            Schedule D (Official Form 106D), Schedule E/F(Official Form\106E/F), or Schedule G (Official Form 106G). Use Schedule D,
            Schedule EIF, or Schedule G to fill out Column 2.                                      :                                       -
               ""·• ···- -- ·- - - . - ... .... -- ....... - ... --------· -- --- - -- ---- - - - rI ~ -·· - ----- --- -· - -·---- -· - - ····-·-·-··--- - --- ., ...... "--· - - - ··- -- - . -
                                                                                                   I;
             Column        1:. Your codebtor                                                       I                         Column 2: The creditor to whom you· o~e the debt
             .
                                                                                                                    I'                                      '
                                                                                                                   i'
        ~-----            ·---        - --   -- - . -- -   -   -- --   - --·-   - -   ---    ---    -- - ,________ i :. -- __ ,_    -         ------   --   i .g~ec~ <!11 _s_cbed_iJl~s_ tha_~?l?PlL__   -   ____ I -- --
                                                                                                                                                                                                                 _..
                                                                                                                                                                                                                             -   --•   "c




                                                                                                                                                                                                                    '
                   Name                                                                                                                                         •   Schedule D, line ___                           i'

                                                                                                                                                                •   Schedule E/F, line ___                         l
                                                                                                                                                                                                                   i
                   Number           Street
                                                                                                                                                                •   Schedule G, line ___                           I

                   City                                                                 State                                  ZIP Code


        ~          Name                                                                                                                                         •   Schedule D, line ___
                                                                                                                                                                                                                   '
                                                                                                                                                                •   Schedule E/F, line ___                         I

                   Number           Street
                                                                                                                                                                •   Schedule G, line ___                           '

                   Citv                                                                 State                                  ZIP Code


    s
    I




                   Name                                                                                                                                         •   Schedule D, line ___

                                                                                                                       i                                        •   Schedule E/F, line ___
                   Number           Street
                                                                                                                                                                •   Schedule G, line ___

             -9!)'.                                                                         State                                  ZIP Code


                                                                                                                                                                                                                       I
    'Official Form 106H                                                                                Schedule H: Your Codebtors                                                                             pag~ 1 of_
                                                                                                                       !
                                                                                                                                                                                                                 !
                                                                                                                                                                                                                       I
                     Case 8-18-76800-ast                   Doc 13    Filed 10/26/18            Entered 10/26/18 14:44:25


' Debtor 1       Frenny                                         Mariano                     Case number (i/known)   8-18-76800-ast
                 First Name      Middle Name   Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                    Column 2: The, creditor to whom you owe the debt

                                                                    ..I,   ...                    Check all schedules that apply: . __ ..
 3.-

        Name                                                                                      •    Schedule D, line ___

                                                                                                  •    Schedule E/F, line ___

        Number         Street                                                                    '•    Schedule G, line ___


        Cit                                         State                        ZIP Code

 3._

        Name                                                                                       •   Schedule D, line ___

                                                                                                   •   Schedule E/F, line ___

        Number          Street                                                                     •   Schedule G, line ___


        Cit                                         State                        ZIP Code

 3.-
        Name                                                                                       •   Schedule D, line ___

                                                                                                   •   Schedule E/F, line ___

        Number          Street                                                                     •   Schedule G, line ___


        City                                        State                        ZIP Code


>-                                                                                                 •   Schedule D, line ___
        Name

                                                                                                   •   Schedule E/F, line ___

        Number          Street                                                                     •   Schedule G, line ___


        Cit                                         State                        ZIP Code



        Name                                                                                       •   Schedule D, line ___

                                                                                                   •   Schedule E/F, line ___

        Number          Street                                                                     •   Schedule G, line ___


        Cit                                         State                        ZIP Code



        Name                                                                                       •   Schedule D, line ___

                                                                                                   •   Schedule E/F, line ___

        Number          Street                                                                     •   Schedule G, line ___


        Cit                                         State                        ZIP Code



        Name                                                                                       •   Schedule D, line ___

                                                                                                   •   Schedule E/F, line ___

        Number          Street                                                                     •   Schedule G, line ___


        City                                        State                        ZIP Code



        Name                                                                                       •   Schedule D, line ___

                                                                                                   •   Schedule EIF, line ___

        Number          Street                                                                     •   Schedule G, line ___


        Cit                                         State                        ZIP Code




Official Form 106H                                           Schedule H: Your Codebtors                                                     page_ of -
                           Case 8-18-76800-ast                Doc 13                Filed 10/26/18                 Entered 10/26/18 14:44:25



      Fill in this information to identify your case:
                                                                                     I
      Debtor 1          Frenny                                               Mariano
                         First Name ·           Mlddle Name                  Last Na~e

      Debtor 2
     (Spouse, if filing) First Nama             Middle Name                  Last Neille


      United States Bankruptcy Court for the: Eastern District of New York

      Case number         8-18-76800-ast                                                                            Check if this is:
      (If known)
                                                                                                                    D An amended filing
                                                                                                                    D A supplement showing postpetitioh chapter 13
                                                                                                                          income as of the following date: I                          :
                                                                                                                                                                        '             '
Official Form 1061                                                                                                        MM/ DD/ YYYY

!Schedule I: Your Income                                                                                                                                                      12/15
:, Be as complete and accurate as possible. If two married people a~e filing together (Debtor 1 and Debtor 2), both are equally responsible for
·supplying correct information. If you are married and not filing joif!tlY, and your spouse is _living with you, include information about your spouse.
:If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
:separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.
!                                                                                    I

                       Describe Employment

                                                                                     i
, 1. Fill in your employment
'    information.
                                                                              r-.   b~btor 1 ·- -
                                                                                                                            ---- ----~ r --- -- -- -- ---- ---·-------- - - - ----- ----- ---/
                                                                                                                                    \I   Debtor 2 or non-filing spouse                    ·

          If you have more than one job,                                             i
          attach a separate page with
          information about additional       Employment status                   iidj Employed                                           D    Employed
          employers.                                                             D\ Not employed
                                                                                         I
                                                                                                                                         ~ Not employed
          Include part-time, seasonal, or
          selfaemployed work.                                                        I
                                             Occupation                        Small Business Relationship Mng                       _H_o_u_s_ew_ii_e_ _ _ _ _ _ _ __
          Occupation may include student
          or homemaker, if it applies.
                                                                                     !
                                                                                         I
                                             Employer's name                   Sar;ttander Bank                                      N/A' - ' - - - - - - - - - - - - - -
                                                                                                                                     ~
                                                                                         1
                                             Employer's address                711               3rd Ave
                                                                                Number
                                                                                  I
                                                                                       Street                                         Number      Street
                                                                                         I

                                                                                         '


                                                                                         I
                                                                                NeWYork                       NY     10017
                                                                                Cit}'.                State    ZIP Code               City                         State , ZIP Code

                                             How long employed there?                4 Months                                            4 Months


    -•~....--          Give Details About Monthly Income

          Estimate monthly income.as of the date you file this form. If yoG have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
          below: If you need more space, attach a separate sheet to this forni.
                   '                                                                         !
                                                                                                               For Debtor 1        · [ -F~r~D~bt~r 2 or
                                                                                                                                     ! non·-filing spouse      i
                                                                                             !
      2. List monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate-what the monthly wage Would be.                  2.           6,538.48                           0.00
         .                                                                 I                                   $                          $
                                                                                             I
      3. Estimate and list monthly overtime pay.                                                      3. +$               0.00        + $             0.00

                                                                                                                   6,538.48                           0.00
       4. Calculate gross income. Add line 2 + line 3.                                                4.       $
                                                                                                                                 II       $



    ;official Form 1061                                                Schedule I: Your Income                                                                              page 1
                            Case 8-18-76800-ast                                    Doc 13               Filed 10/26/18                           Entered 10/26/18 14:44:25


Debtor 1              Frenny                                                                   Mariano                                        Case number (ii known)   8-18-76800-ast
                       First Name            Middle Name               Last Name


                                                                                                                                        ·-----
                                                                                                                                      ! For Debtor -1                  ! For Debtor 2 or
                                                                                                                                      '                                I non-filing seouse
         Copy line 4 here ...............................................................................................   -+ 4.         $      6,538.48                  $          0.00
    5. List all payroll deductions:

          Sa. Tax, Medicare, and Social Security deductions                                                                    Sa.        $      1,230.78                  $         0.00
          Sb. Mandatory contributions for retirement plans                                                                    Sb.         $          0.00                  $         0.00
          Sc. Voluntary contributions for retirement plans                                                                    Sc.         $          0.00                  $         0.00
          Sd. Required repayments of retirement fund loans                                                                     Sd.        $          0.00                  $         0.00
          Se. Insurance                                                                                                        Se.        $        766.02                  $         0.00
          Sf. Domestic support obligations                                                                                    Sf.         $          0.00                  $         0.00
          Sg. Union dues                                                                                                      Sg.         $          0.00                  $         0.00
                                                                                                         :
          Sh. Other deductions. Specify:                                                                                      Sh. +$                    0.00           + $           0.00
     6. Add the payroll deductions. Add lines Sa+ Sb+ Sc+ Sd + Se +Sf+ Sg + Sh.                                                6.         $      1,996.80                  $         0.00

     7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                    7.         $      4,541.68                  $         0.00

    a.   List all other income regularly received:
          Ba. Net income from rental property and from operating a bu~iness,
              profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the' total
                monthly net income.                                                                                           Ba:
                                                                                                                                          $             0.00               $         0.00
          Bb. Interest
                   -·--
                        and dividends"
                                                                                                                              Bb.         $             0.00               $         0.00
          Bc. Family support payments that you, a non-filing spouse,                                   or a dependent
              regularly receive
                Include alimony, spousal support, child support, maintenance 1 divorce
                settlement, and property settlement.                                                                                      $             0.00               $         0.00
                                                                                                                              Bc.
          Bd. Unemployment compensation                                                                                       Bd.         $             0.00               $         0.00
          Be. Soc_it!I Security                                                                                               Be.         $             0.00               $         0.00
          Bf. Other government assistance that you regularly receive
                Include cash assistance and the value (if known) of any non-cash assistance
                that you receive, such as food stamps (benefits under the Supplemental
                Nutrition Assistance Program) or housing subsidies.
                Specify:                                                                  Bf.                                             $             0.00               $         0.00
          Bg. Pension or retirement income                                                                                    Bg.         $             0.00               $         0.00
          Bh. Other monthly income. Specify:                                                                                  Bh. +$                    0.00            +$           0.00
     9. Add all other income. Add lines Ba+ Bb + Bc + Bd +Be+ Bf +Bg + Bh.                                                     9.     I   $             0.001
                                                                                                                                                                       I   $         0.00
                                                                                                                                                                                                 I
: 10.Calculate monthly income. Add line 7 + line 9.                       '
                                                                                                                                     .I   $      4.541.68      I+          $         0.00
                                                                                                                                                                                                 I= 1$      4,541.68
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse .                                               10
                                                                                                                                                                       1
. 11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
         friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                                                                          11.   +$               0.00
    12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
        Write that amount on the Summary of Your Assets and Liabilities a'nd Certain Statistical Information, if it applies                                                                12.       1$     4,541.68
                                                                                                                                                                                                     Combined
                                                                                                                                                                                                     monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
           ~    No.
           D    Yes. Explain:            I
'

Official Form 1061                                                                            Schedule I: Your Income                                                                                     page2
                                 Case 8-18-76800-ast                   Doc 13         Filed 10/26/18             Entered 10/26/18 14:44:25




         Fill in this information to identify your case:
                                                                                       I
          Debtor 1              Frenny                                            Mariano
                                First Name               Middle Name              last Name                       Check if this is:
         Debtor2
         (Spouse, Wfiling) First Name                    Middle Name                                              •   An amended filing
                                                                                                                  •
                                                                                  LastN~me

                                                                                                                      A supplement showing postpetitionchapter 13
         United States Bankruptcy Court for the: Eastern District of New York
                                                                                                                      expenses as of the following date: ·
         Case number 8-18-76800-ast
                                                                                                                      MM/ DD/ YYYY
          (If known)




      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                       12/15

   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 ; information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 ; (if known). Answer every question.
 I
                                Describe Your Household

          Is this a joint case?

          lif   No. Go to line 2.
          D     Yes. Does Debtor 2 live in a separate household?

                         liZf   No
                         D      Yes. Debtor 2 must file Official Form 106J-2, ExpensesI for Separate Household of Debtor 2.



                                                       ~
 ·2. Do you have dependents?
                                                                                               Dependent's relationship to              Dependent's      Does dependent live
           Do not list Debtor 1 and                          ~:s. Fill out this informatiJ for Debtor 1 or Debtor 2                     age              with you?
           Debtor 2.                                         each dependent... ............ ..!. ........ - - - - - - - - - - -
          Qo noJ state the depend_ents'                                                 '      Step Daughter                            16               •   No
          names.                                                                                                                                         iia' Y.es
                                                                                               Son                                      3                • No
                                                                                                                                                         lif Yes
                                                                                               Daughter                                                  • No
                                                                                                                                                         Iii Yes
                                                                                               Wife                                     35               • No
                                                                                                                                                         lif Yes
  I
. !
                                                                                                                                                         • No
  i
                                                                                                                                                         D   Yes
  I
          Do your expenses include
                                                       lif   No
  r·      expenses of people other than
          yourself and your dependents?                 D    Yes


                         Estimate Your Ongoing Monthly Expenses

      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to r.eport
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.                                                                     !                                                                   :
                                                                                           I
      Include expenses paid for with non-cash government assistance if you know the value of                                            j"
                                                                     1                                                                       Your expenses
      such assistance and have included it on Schedule I: Your lncome (Official Form 1061.)
                                                                                                                                                               i
         4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                             $            2,360.28
            any r~nt for the ground or lot.                             ·                                                         4.

            If not included in line 4:
            4a.    Real estate taxes                                                                                              4a.        $                     0.00
             4b.       Property, homeowner's, or renter's insurance                                                               4b.        $                     0.00
             4c.       Home maintenance, repair, and upkeep expenses                                                              4c.        $              100.00
             4d.       Homeowner's association or condominium dues                                                                4d.        $                0.00
                                                                                                                                                      ··----.----·--
 Official Form 106J                                                        Schedule J: Your Expenses                                                               page 1

     I
                        Case 8-18-76800-ast                     Doc 13        Filed 10/26/18      Entered 10/26/18 14:44:25



                                                                              '
• Debtor 1          Frenny                                            Mariano                  Case number (if known)   8-18-76800-ast
                    First Name   Mlddle Name        Last Name




                                                                                                                               Your expenses


: 5. Additional mortgage payments for your residence, such as home equity loans                                                $               154.03
                                                                                                                        5.
:
i 6.   Utilities:
       6a.   Electricity, heat, natural gas                                                                             6a.    $               408.00
       6b.   Water, sewer, garbage collection_                                                                          6b.    $                80.00
                                                                              :
       6c.   Telephone, cell phone, Internet, satellite,
                                                 .
                                                         and cable services   i'                                        6c.    $               284.00
       6d.   Other. Specify:                                                                                            6d.    $
    7. Food and housekeeping supplies                                                                                   7.     $               800.00
    8. Childcare and children's education costs                                                                         8.     $                 0.00
    9. Clothing, laundry, and dry cleaning                                                                              9.     $               100.00
w      Personal care products and services                                                                              10.    $               100.00
11. Medical and dental expenses                                                                                         11.    $                40.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                               $               360.00
    Do not include car payments.                                                                                        12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                               13.    $                    0.00
                                                         .                    '
14.    Charitable contributions and religious donations                                                                 14.    $                60.00
15. Insurance.                                                        ,
    Do not include insurance deducted from your pay or included in lines 4 or 20.
                                                                              '
       15a. Life insurance                                                                                              15a.   $                '0.00
       15b. Health insurance                                                                                            15b.   $                    0.00
       15c. Vehicle insurance                                                                                           15c.   $               268.00
       15d. Other insurance. Specify:_ _ _ _ _ _ _ _ _ _ _ _-.----_ _ __                                                15d.   $                 0.00

,6.    Taxes. Do not include taxes deducted from your pay or included in; lines 4 or 20.
       Specify:                                                               '                                         16.    $                    0.00

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                  17a.   $               490.00
       17b. Car payments for Vehicle 2                                                                                  17b.   $                !o.oo
       17c. Other. Specify:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                      17c.   $                i0.00
       17d. Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - -                                                      17d.   $                10.00

    8. Your payments of alimony, maintenance, and support that yoJ did not report as deducted from
I      your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                 18.
                                                                                                                               $                i0.00
19.    Other payments you make to support others who do not live ~ith you.
                                                                                                                                                '
       Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                              19.   $                !o.oo
1
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                 20a.   $                    0.00
       20b. Real estate taxes                                                                                           20b.   $                    0.00
       20c. Property, homeowner's, or renter's insurance                                                                20c.   $                    0.00
       20d. Maintenance, repair, and upkeep expenses                                                                    20d.   $                    0.00
       2oe. Homeowner's association or condominium dues                                                                 20e.   $_ _ _ _ _ _~0~·~0~0



'                                                                Schedule J: Your Expenses                                                          page2
Official Form 106J
                     Case 8-18-76800-ast                         Doc 13       Filed 10/26/18                    Entered 10/26/18 14:44:25



 Debtor 1        Frenny                                                 Mariano                          Case number (ilknownl   8-18-76800-ast
                 First Name    Middle Name           Last Name



                                                                      ---·-------·--------------·-----

21.    Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                  21.   +$._ _ _ _ ___;o::.:·-=-oo=-


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                           22a.      $- - - - - - '5,604.31
                                                                                                                                                       ----
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from O~cial Form 106J-2                                    22b.       $._ _ _ _ ___:0: .:. .0=----=.0
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                        22c.      $                 5,604.31


23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule_ I.                                                    23a.
                                                                                                                                         $. ____ 4,541.68
                                                                                                                                                    ___   __;_




      23b.   Copy your monthly expenses from line 22c above.
                                                                                                                                            · - - - - -5,604.31
                                                                                                                              23b.     -$
                                                                                                                                                       ~---
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                         $._ _ _ _-_1_,_,0_6_2._6_;_3
             The result is your monthly net income.                                                                           23c.




24.   Do you expect an increase or decrease in your expenses withi~ the year after you file this form?

      For example, do you expect to finish paying for your car loan within :the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      liZf No.
      D Yes.       Explain here:




·-·-----------------------     ··----- ------------- ·--------- --- -- ---------- --------------------·----- ------------·-------
                                                                                                           .,
                                                                                                                                                                          ________!
                                                                                '




Official Form 106J                                                Schedule J: Your Expenses                                                                      page 3
                           Case 8-18-76800-ast               Doc 13              Filed 10/26/18               Entered 10/26/18 14:44:25



Fill in this information to identify your case:                                                   :
                                                                                                  I
                                                                                 i
Debtor 1             Frenny                                          Mariano
i                    First Name             . Middle Name                 i
                                                                     Last Name

Debtor2                                                                          ,
rpause, if filing)   Fiist Name              Middla Neme             Last Name   I
United States Bankruptcy Court for the: Eastern District of New York             ,
I
~ase number           8-18-768QQ-ast
(If known)

I                                                                                                                                      •   Check if this is an
                                                                                                                                           amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                 12/15
                                                                      I
!, If two, married people are filing together, both are equally responsible
                                                                       I
                                                                            for supplying correct information.
                                                                                                                                                   ,

! You must file this form whenever you file bankruptcy schedules Jr amended schedules. Making a false statement, concealing property, or
; obtaining money or property by fraud in connection with a bankriptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, o~ both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.        :



                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        !il No
        D Yes.         Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _____c_ _ _ _ _ ,. Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct. '                             I
                                                                                     !



      4k Signature of Debtor 1                                           Signature of Debtor 2
                                                                                     I
                                                                                     i
          Date   LD 2 '> 2D 12
                 MM/ DD / YYYY
                                                                         Date_l_ _ _ _ __
                                                                                 , MM/ DD /   YYYY




    ! Official Form 106Dec                                   Declaration About an Individual Debtor's Schedules
                        Case 8-18-76800-ast                                          Doc 13                 Filed 10/26/18                  Entered 10/26/18 14:44:25
                                                                                                            ;
                                                                                                            I


                                                                                                            I
   Fill in this information to identify your case:


   Debtor 1            Frenny
                       First Name                                Middle Name                          Last~ame

   Debtor2
   (Spouse, iffiling) F;rs1 Name                                 Middle Name                          Last Name


   United States Bankruptcy Court for the: Eastern District of New York                                      I
                                                                                                             I
   Case number         8-18-76800-ast                                                                                                                                                     !
   (If known)                                                                                                                                                                     D   Chebk if this is an
                                                                                                                                                                                      amended filing
                                                                                                                                                                                          I
                                                                                                                                                                                          I

                                                                                                                                                                                          I
                                                                                                                                                                                          I




 Official Form 107                   .
 Statement of Financial Affairs for l~dividuals Filing for Bankruptcy                                                                                                                                       04/16
 Be as complete and accurate as possible. If two married people ~re filing together, both are equally responsible for supplying corr,ect
 information. If more space is needed, attach a separate sheet to ~his form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.                        I
                                                                                                                I
                  Give Details About Your Marital Status and Where You Lived Before
                                                                                                                I



   1. What is your current marital status?

        ~ Married
        D Not married

   2. During the last 3 years, have you lived anywhere other than                                           Yf here you live now?
       •~                                                                                                       '
       5f Yes. List all of the places you lived in the last 3 years.                              Do not include where you live now.
            r-         -,   ---•----         ---·   -   ---···   -    ..   ··------.----·   --    -,- ...
                                                                                                              !
                                                                                                            -7;---·-,1· ---,--- .. ------··-· - -- -- .-.. - -,     ..----· ---
                                                                                                                                                                                        Dates Debtor. 2 ;
            L~~bt: 1'.               ___________________ . ..                               [ ~:~~st~:i:t:_1j L°:~~~r-~~ _____ - ________                   ____ -·- .. _____ _       __H~ed there ...· ___ :


                                                                                                                            D   Same as Debtor 1                                      D   Same as Debtor 1
                                                                                                                    I
                 2709 Santa Monica Bvrd                                                      From 08/91/2015                                                                              From _ __
                Number              Street                                                                  -,--            · Number Street
                                                                                             To         01/31/2018                                                                        To


                 Santa Monica                              CA              90404
                                                           State ZIP Code                                                       City                        State ZIP Code

                                                                                                                            D   Same as Debtor 1                                      D   Same as Debtor 1

                                                                                             From           _i__
                Number              Street                                                                                      Number Street
                                                                                             To



                                                                                                                                                                                              I
                City                                       State ZIP Code                                                       City                        State      ZIP Code               i
                                                                                                                                                                                              I
                                                                                                                    I'                                                                        I,             ,
   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? ( Commun/tr property
      states and territories include Arizona, California, Idaho, Louisiana( Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                                                                                                                        I
       •~                                                                                                               I
        lit" Yes. Make sure you fill out Schedule H: Your Codebtors (Offidial
                                                                          !
                                                                              Form 106H).




 '•§fj           Explain the Sources of Your Income

Qfficial Form 107                                                    Statement of Financial Aff~irs for.Individuals Filing for Bankruptcy                                                          page 1
                              Case 8-18-76800-ast                          Doc 13                      Filed 10/26/18                           Entered 10/26/18 14:44:25


                                                                                                       '
: Debtor 1               Frenny                                                          Mariano                                           Case number (if known) 8-18-76800-ast
                          First Name      Middle Name          Last Name




i :-,- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
!,I,i, 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
!!: Fill in the total amount of income you received from all jobs and f!II businesses, including part-time activities.
          If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
                                                                                                       i
                                                                                                       I

             0       No
             !ill'   Yes. Fill in the details.

                                                                   ~~-1_·__                                                                ~                Debtor2                                                          ]
                                                                                                                  -----                             I
                                                                    I
                                                                   ! Sources of income,                               Gross income                          Sources of income              Gross income
                                                                   ! Check all that apply)                            (before deductions and : Check all that apply.
                                                                                                                      ~1<_1::l_u§ioJJ!lL .. __ ---·, __ . __ ._ _ _
                                                                                                                                                                                       Il e~luJ>jor:i~)
                                                                                                                                                                                          (before deductions and


                      From January 1 of current year until               !ill' Wages, commi~sions,                        84 ,_
                                                                                                                              846
                                                                                                                                      -                     D   Wages, commissions,
                                                                             bonuses, tips !                          $____     _.09
                                                                                                                                  _                             bonuses.tips            $_ _ _ _ __
·,.:,,                the date you filed for bankruptcy:
,,,
                                                                         D   Operating a bu~iness                                                           D   Operating a business

}                                                                        !ill' Wages, commi~sions,                                                          D   Wages, commissions,
                      For last calendar year:
                                                                              bonuses, tips ,                         $            90,344.40                    bonuses, tips           $
                      (January 1 to December 31. 2017               ·- 0     -Operating ~ business                                                          D   Operating a business
                                                        yyyy



                      For the calendar year before that:                 D   Wages, commissions,                                                            D   Wages, commissions,
                                                                             bonuses.tips                                       119,722.00                      bonuses.tips
                                                                                                                      $                                                                 $
                      (January 1 to December 31, 2016
                                                        yyyy
                                                                         D   Operating a business                                                           D   Operating a business



 .'. 5. Did you receive any other income during this year or the two :previous calendar years?
 :l'         Include income regardless of whether that income is taxable. Exa'mples of other income are alimony; child support; Social Security,
             unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
             gambling and lottery winnings. If you are filing a joint case and yo',u have income that you received together, list it only once under Debtor 1.

             List each source and the gross income from each source separat~ly. Do not include income that you listed in line 4.
                                                                                                           I                                •

             0 No
             ~Yes.Fill in the details.

                                                                    [iebt~~-----:
                                                                    '                                      ;
                                                                                                                      -~---· ===i [                          Debtor2
                                                                                                                                                                                                                .        '
                                                                                                                                                                                                                                 II
                                                                         Sources of income; •                   t,.   Gearcohsss inucrocme e from   i;       Sources of income         i Gross  in~rime from~-
                                                                         Describe below.  !'                                   0                    1   !    Describe below.           1 each source
                                                                                                                I (before deductions and : i                                           l (before de_ductions and
                                                                    i
                                                                    L.
                                                                                                           '.
                                                                                                           I
                                                                                                                i[ ______
                                                                                                                   .exclusions)           ::                                           , exclusions)
                                                                             ···--·- --·---   .   --                        ---        ··-···i-                 ----- . -   -          I . -· .... -   --• --       ..       .


                       From January 1 of current year until
                                                                        401 withdrawa11,                        $                  2,938.77                                            $_ _ _ _ _ __
                       the date you_ fi!ecl_ for bankruptcy:                                                    $                                                                      $._ _ _ _ _ __

                                                                                                                $                                                                      $_________



                       For last calendar year:                                                                  $                                                                      $----'-----
                                                                                                                $                                                                      $ _ _ _ _ _ __
                       (January 1 to December 31,2017          )
                                                        yyyy
                                                                                                                $                                                                      $_ _ _ _ _ __



                       For the calendar year before that:               401 k withdrawal                        $- - -16,513.00                                                        $_ _ _ _ _ _ __
                                                                                                                       ----
                       (January 1 to December 31,2016          )                                                                                                                       $_ _ _ _ _ _ __
                                                                                                                $_ _ _ _ _ _ _ _ - - - - - - - - - -
                                                        yyyy
                                                                                                                                                                                       $_ _ _ _ _ __
                                                                                                                $________ - - - - - - - - - -


                                                                                                       -----·----


         Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           page2
                         Case 8-18-76800-ast                              Doc 13        Filed 10/26/18                   Entered 10/26/18 14:44:25



· Debtor 1      Frenny                                                             Mariano                           Case number (if known)   8-18-76800-ast
                 First Name         Middle Name               Last Name




    •·=--- List Certain Payments You Made Before You Flied for Bankruptcy
     6. Are either Debtor 1's or Debtor 2's debts primarily consumer ~ebts?

        D    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
                 "incurred by an individual primarily for a personal, family;_ or household purpose."
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                 D       No. Go to line 7.

                 fiZI'   Yes; List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                              total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                              child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                 * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

        D    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did y6u pay any creditor a total of $600 or more?

                 /iZI    No. Go to line. 7.
i
                 D       Yes. List below each creditor to whom you paid a tot~I of $600 or more and the total amount you paid that
                              creditor. Do not include payments for domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                              1 -Daies--~f-· · : 1·T~t~I am-~unt paid · - --
                                                                              1·                                               , ! Amount you still owe        : 1· Wa~ this payment for ... ,
                                                                                 payme')t                                                                      11                              '
                                                                                                                                                          --   \ ~--.                          .

                          Toyota Motor Credit                                                      $._ _ _ _ _ __ $                           20,643.00              D Mortgage
                          Credito(s Name
                                                                                                                                                                     Jia' Car
                          100                Bridgeport Ave
                          Number    Street                                                                                                                           D Credit card
                                                                                                                                                                    ·D Loan repayment
                                                                                                                                                                     D Suppliers or vendors
                          Shelton                   CT         06484
                          City                    State            ZIP Code
                                                                                                                                                                     D Other:


                          Bank of America                                                          $_ _ _ _ _ __                $        263,794.35                 Jia' Mortgage
                          Credito(s Name
                                                                                                                                                                    D Car
                          PO Box 31785
                          Number    Street
                                                                                                                                                                    D Credit card
                                                                                                                                                                    D Loan repayment
                                                                                                                                                                    D Suppliers or vendors
                          Tampa                    FL          33631
                          City                    State            ZIP Code
                                                                                                                                                                    D Other


                  ___ Ghase E3aok                                                                  $_ _ _ _ _ $_ _ _1_9,=9~80_._10_                                 lia' Mortga~e
                          Credito(s Name
                                                                                                                                                                    D Car
                          PO Box 78420
                          Number    Street
                                                                                                                                                                    D Credit~rd
                                                                                                                                                                    D Loan re~ayment
                                                                                                                                                                    •   Suppliers or vendors
                          Phoenix                  AZ          85062                                                                                                D Other _ _ _ __
                          Ctty                    State            ZIP Code




    Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page3
                                Case 8-18-76800-ast                           Doc 13      Filed 10/26/18                            Entered 10/26/18 14:44:25



; Debtor 1             Frenny                                                                                                   Case number (if known)   8-18-76800-ast
                            First Name      Middle Name           Last Name




,     7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?                       ,
         Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;'
         corporations of which you are an officer, director, person in contrpl, or owner of 20% or more of their voting securities; and any managing
         agent, including one for a business you operate as a sole propri!l,tor. 11 U.S.C. § 101. Include payments for domestic support obligations,
         such as child support and alimony.                                                                                                         !

           lif No
           D   Yes. List all payments to an insider.
                                                                                   Oates of         ·, Total    amount           : [ ~ount you still      Reason for this payment
                                                                                                    1                              1
                                                                                                                                     owe
                                                                                  - pa~mert__ ..    l-~~i~                       il . .

                                                                                                    $_ _ _ _ _                    $_ _ _ _ _
                 Insider's Name



                 Number            Street



i
                 City                                     Slate   ZIP Code



                                                                                                    $                             $
                 Insider's Name


                 Number            Street




                 City                                     State   ZIP Code


      a.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
           an insider?
           Include payments on debts guaranteed or cosigned by an insider.'

           lif No
           D   Yes. List all payments that benefited an insider.

                                                                                  Oates of,·        ; \ ~otal amount · \ Am~un; yo~ still'.; Reason               f~; this -~~yment
                                                                                  payment<         __; Lpaid                     : ' owe               '; Include creditor's name


                                                                                                     $_ _ _ _ _ $_ _ _ __
                 Insider's Name



                 Number            Street




                 City                                     State   21 P Code



                                                                                                     $_ _ _ __                     $_ _ _ __
                 Insider's Name



                 Number            Street




    I- ·--·-----..   City                        State ZIP Co,_d~e____ ------· _ ·--
                              ···-··--···-•-·-·-----------                                          ~~-  ,.
                                                                                                              _,_ ··-·· _....
                                                                                                                           . .. -·..~-   --·--·----a~ _..., ..___ ,_____ ------------------------~- ___

    Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page4
                   Case 8-18-76800-ast                                        Doc 13       Filed 10/26/18                 Entered 10/26/18 14:44:25



Debtor 1        Frenny                                                               Mari~no                            Case number (ilknownl    8-18-76800-ast
                First Name            Middle Name                 Last Name




                Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a pai:fy in any lawsuit, court action, or administrative proceeding?                 ,
    List all such matters, including personal injury cases, small clai~s actions, divorces, collection suits, paternity actions, support or custcidy modifications,
    and contract disputes.                                                                                                                       '

     iii' No
     D     Yes. Fill in the details.
                                                                                                             -   ,
                                                                       : Nature of the cas~                  ' \ Court or agency                                                  ·, ' Status of the case i
                                                                                                                   - .. .. -              --- .         -    -       __, ,         ',_ -·   .. -
                                                                                                                 '                                 .             .



            Case title
                                         ..         ..           -
                                                                                                                 Court Name                                                         •    Pending

                                                                                                                                                                                     D   cinappeal

                                                                                                                 Number     Street                                                   D   Concluded

            Case number
                                                                                                                 City                    State          ZIP Code


                                                                                            :
            Case title                                                                                           Court Name
                                                                                                                                                                             -
                                                                                                                                                                                     D   Pending
                                                                                              :
                                                                                                                                                                                     D   On appeal
                                                                                              '                                                                              -

                                                                                            :                    Number     Street                                                   D   Concluded

            Case number                       ..
                                                                                                                 City                    State          ZIP Code
                                                                                              :

  10. Within 1 year before you filed for bankruptcy, was any of yo~r property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.          '

     !if' No.    Go to line 11.
      D    Yes. Fill in the information below.
                                                                                 !            1 ·
                                                                                                                                                  - ;r-
                                                                                                                                                       ,,
                                                                                     Describe the property                                             :,,, Date
                                                                                                                                                                                 .,: Value of the property!


                 Credito~s Name



                 Number      Street
                                                                                 '--------------------~
                                                                                     Explain ~hat happened
                                                                                                                                                       I-                          $_ _ _ _ _ _




                                                                                     D   Property was repossessed.
                                                                                                  I
                                                                                     D   Property was foreclosed.
                                                                                     D   Pr~perty was garnished.
                 City                                    State   ZIP Code            D     '
                                                                                         Property was attached, seized, or levied.

                                                                                 ' Describ~ the property                                                    Date                   Value of the properti



                                                                                                                                                                                   $_ _ _ _ _ _
                 Credito~s Name



                 Number      Street                                                               I
                                                                                     Explain what happened


                                                                                     D    Prciperty was repossessed.
                                                                                     •    Property was foreclosed.

                 City                                    State   ZIP Code
                                                                                     D    Property was garnished.
                                                                                     D    Property was attached, seized, or levied.
                                                                                                                                            --~--·-·----·- - - - - -


, Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                             page5
                      Case 8-18-76800-ast                                 Doc 13                 Filed 10/26/18         Entered 10/26/18 14:44:25


                                                                                                 II
Debtor 1          Frenny                                                               Mariano                       Case number (it known)   8-18-76800-ast
                  First Name         Middle Name             Last Name
                                                                                                 I
                                                                                                 I
                                                                                                 I
                                                                                                 i
 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ~~                                                                                          '

     D     Yes. Fill in the details.
                                                                                             -,-·--
                                                                                                 1'              .
                                                                                                                                                                       ir ·---- . :
                                                                         Describe the action the' creditor took ·                             -- ·; ,--Date action
                                                                                                                                                                       !/     Amount
                                                                                                 j                                              I !_ ~as taken         :1
           Credito~s Name                                          1--------,------------------,'                                                                                     ;_ ~ -
                                                                                                                                                                                      I


                                                                                                                                                                                      I
                                                                                                                                                                            $_ _ _1 _ _ __
           Number     Street




           City                              State   ZIP Code           Last 4 digits of a\:count number: XXXX-_ _ _ _
                                                                                                     !
                                                                                                     I

 12. Within 1 year before you filed for bankruptcy, was any of you·r property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or anothe~ official?
     0     No
     D     Yes

                  List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give ary gifts with a total value of more than $600 per person?

     ~~                                                                                               I
     D     Yes. Fill in the details for each gift.                                                    '
                                                                                                         I
                                                                        . - -- -·-:-· -- "           i ,-
            Gifts with a total value of more than $600                   Describe the gifts,                                                     : Dates you gave                   Value
            per person
                       - -- ------    -   --- - --- ---- -
                                                                         i:
                                                             - - -~-----------------------'-,-
                                                                                              \ the gifts                                                      · ·
                                                                                                                                                                 --   --- J



                                                                                                                                                                               $_ _ _ _ __
           Person to Whom You Gave the Gift
                                                                                                                                                                               $_ _ _ __



           Number      Street



           City                              State   ZIP Code


           Person's relationship to you

                                                                    .        • ---   • ·- ----               I
                                                                                                                                                                                          '
           !Gifts with a total __value of more than $600-. · f Describe the gifts-( -                                                              Dates you gllve              Value
                                                             ',                   1'
           iper person
                  --··-- --· -     --                  --- -                                                                                      JhJ! gj~ - -
                                                                                                             I

                                                                                                             '
                                                                                                             '
                                                                                                                                                                                     '-1-
                                                                                                             I
                                                                                                                                                                                $         !
           Person to Whom You Gave the Gift
                                                                                                             I
                                                                                                             I

                                                                                                             :                                                                  $_ _ _ _ __

                                                                                                             I


           Number      Street                                                                                '


           City                              State   ZIP Code


           Person's relationship to you



Official Form 107                                      Statement of Financial Affa,irs for Individuals Filing for Bankruptcy                                                                  page6
                            Case 8-18-76800-ast                                Doc 13          Filed 10/26/18               Entered 10/26/18 14:44:25


                                                                                               i       I


Debtor 1            Frenny                                                               Mariar;io                       Case number (if known)   8-18-76800-ast
                        First Name     Middle Name                 Last Name




                                                                                               :       •                                                                                  I


    14. Within 2 years before you filed for bankruptcy, did you give a'ny gifts or contributions with a total value of more than $600 to a~y charity?
                                                                                               I                                                                                          i
       ~~                                                                                                                                                                                 I
       D     Yes. Fill in the details for each gift or contribution.                           iI
                                                                                               'I

            1···- --                   • .    • -· -- ...               i - --·•.-·-. .    -1-1-· .                                                                         ,     - l·
            !, Gifts or contributions to charities                      I -Describe what you'. contributed                                            Date you
                                                                                                                                                                            1·
                                                                                                                                                                            I Valu~
                                                                                                                                                                                          I

            I_t~a~ t~ta)_more Iha~ ~~00              ___ __ _______ _   I
                                                                        I
                                                                                               l:
                                                                                               l        !
                                                                                                                                                      contributed

                                                                                                                                                                                          1-
                                                                                                                                                                                 $_ _ _ _ __
             Charity's Name                                                                    I
                                                                                               i
                                                                                               I'
                                                                                                I
                                                                                                                                                                                $--;-----


             Number         Street




             City              State    ZIP Code




                        List Certain Losses
                                                                                                           I                                                                                  '
                                                                                                           I                                                                                  i
    15. Within 1 year before you filed for bankruptcy or since you fil~~ for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?                                         i                                                                  I
       rl
       ~     No                                                                                    ,,'                                                                                        I,
                                                                                                   1

       D     Yes. Fill in the details.
                                                                                                   I:
                                                                                                                                                  -! i Date of your... - ] I Value of property
                                                                                                                                                                                              I



            I'~e~cribe t~e ;~~p~rty ~ou l~s; a~-~ -                     ·: !D-~~-~r;~~ ~ny ins]~~c~ -~~ver~g~-fo~-th~-lo~~                   ·_
                                                                                                                                                                                              1
                                                                                                                                                                                                                     '
            I how the loss occurred           ·_                        : 1          •             1
                                                                                                                                             •      I loss              : i lost
            1·                                                          : , Include the amount,that insurance has paid. List pending insurance                          , ,
            !'                                                          [i  claims on line 33 ofi5r;heduleNB: Prope_rty.                       '. /                     1   I
            I·


                                                                                                                                                                                 $-~---



                    List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to any ne
        you consulted about seeking bankruptcy or preparing a bank'ruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit co~nseling agencies for services required in your bankruptcy.

       iaa No
       D     Yes. Fill in the details.                                                              I          I
                                                                                 .               ! .!                                                                    l j • - ~-   ~            - :· -    .   !
                                                                              Description and val~e of any: property transferred                      Date payment or . • Amount of payment:.
                                                                                                jl                        ·                           transfer was ·
                 Person Who Was Paid                                        r--~-----,-'~i-~----------'-------,· mag~                                                                                       . __ :. -

                 Number       Street
                                                                                                                                                                                 $--;-----


                                                                                                                                                                                 $--'-----
                 City                        State      ZIP Code



                 Email or website address


                 Person Who Made the Payment. if Not You
I


l      .                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                    page7
iOffic1al Form 107

I
I
                          Case 8-18-76800-ast                                 Doc 13          Filed 10/26/18              Entered 10/26/18 14:44:25


                                                                                              I,
! Debtor 1           Frenny
                      First Name      Middle Name
                                                                                       Maria1;10                       Case number (if known)   8-18-76800-ast
                                                                Last Name                     I
                                                                                              i       I




                                                                             Description and v~lue of any property transferred                  j / Date paymenfor         i
                                                                                                                                                                       ; Am6unt of
                                                                                                                                                '. i transfer was made : I payment ·
                                                                     r - - - - - - - - , - - - - - - - - - - - - - - - - - - - , ',,__                                 'L.
              Person Who Was Paid

                                                                                                                                                                           $-~----
              Number        Street

                                                                                                                                                                           $---,-----


              City                        State     ZIP Code



                                                                                              Ii
              Email or website address                                                        I



              Person Who Made the Payment, if Not You

                                                                                                  ''                                                                              '

   17. Within 1 year before you filed for bankruptcy, did you or any~~e else acting on your behalf pay or transfer any property to anyone who
       promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16. :

       ~No
       D     Yes. Fill in the details.
                                                                     ~   -                    T'.:- - ,.                                        :i-       . -.       ··i          :             '
                                                                             Description and value of any property transferred                    , Date payment or i ! Amou.nt of payment'
                                                                                                  :
                                                                                                                                                : I transfer was . '              I
                                                                                                                                                :: m_ad_e.            '      I
              ""P-ers_o_n---:W-,,,...ho"""'W,,..,-as----=-Pa---:id-,--------- - - - - - - - ~ - - - - - - - - - - - - - - - - ~ ·                                    · '· -- • · ·1

                                                                                                                                                                              ! _ __
                                                                                                                                                                           $_ _
              Number         Street



                                                                                                                                                                           $-~---
               City                        Slate    ZIP Code

   18. Within 2 years before you filed for bankruptcy, did you sell, trrde, or otherwise transfer any property to anyone, other than property
       transferred in the ordinary course of your business or financial affairs?                                                                  1

       Include both outright transfers and transfers made as security (su6h as the granting of a security interest or mortgage on your property).!
       Do not include gifts and transfers that you have already listed on this statement.                                                         I
       ~ No                                                                                       !,




                                                                                                                                                                               r- .
       D     Yes. Fill in the details.                                                            ~ i.
                                                                             Description and value of property      , Describe any property or payments received                Date transfer
                                                                             transferred       !·                     or debts paid in exchange
                                                                                                  I'
              Person Who Received Transfer

                                                                                                      !:
              Number         Street
                                                                                                      I'




                                                                                                      ':
              City                         State    21 P Code


              ,Person's relationship to you _ _ _ _ __



              Person Who Received Transfer


              Number         Street




              City                         State    21 P Code

              Person's relationship to you _ _ _ _ __

  Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                           _page 8
                           Case 8-18-76800-ast                            Doc 13             Filed 10/26/18                                Entered 10/26/18 14:44:25
                                                                                             ,,


                                                                                             !       I



, Debtor 1        Frenny                                                            MariS~o                                          Case number (if known) 8-18-76800-ast
I


'
                      First Name         Middle Name          Last Name                      I:
                                                                                             :;

     19. Within 10 years before you filed for bankruptcy, did you tran~f~r any property to a self-settled trust or similar device of which Jou
         are a beneficiary? {These are often called asset-protection devices.)
                            .                                                                I,

        ~~                                                                                   i
        D    Yes. Fill in the details.                                                       'I
                                                                                             1
                                                                    i - ·--.- ..        F' I - - . , .. · --
                                                                    ' Description "and v~l,ue of the property transferred                                                                         D~te transfer·
                                                                                                                                                                                                  Was made ·-- _,


             Name of trust
                                                                                             I:
                                                                                             i,
                                                                                             I           I


                                                                                             I           I




                List Certain Financial Accounts, Instruments, ~-fe Deposit Boxes, and Storage Units
                                                                                             I'
     20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
         closed, sold, moved, or transferred?                         !:                                                                                                                           I
         Include checking, savings, money market, or other financial ~ccounts; certificates of deposit; shares in banks, credit unions, I
                                                                       I                                                                '
         brokerage houses, pension funds, cooperatives, associations, and other financial institutions.                                 ·
                                                                                                 I


        0    No
        D    Yes. Fill in the details.
                                                                                                                                                             ,r-. --..-·-·-. - .-- -.         . if .- --- - .. . :
                                                                     I·-..,.          .          .                       r· - -. -· -.- ...~. - -·
                                                                     I Last 4 digits of account number                   J Type of account or                ' I .Date account was        Last balance before:
                                                                                                                                                                                         ,!

                                                                     'i                          '                       : instrument                        :   ! closed, sold, mov~d, \ closi~g or transfer :

                                                                      L__ --                                                                                     LQr t.@1!~f1.me_c!     '
              Chase Bank
                                                                                                                             ~ Checking
              Name of Financial Institution

              PO BOX 182051
                                                                          XXX)(-
                                                                                   ---,--
                                                                                    2 7 3 0      I


                                                                                                                             D Savings
                                                                                                                                                                   09/10/2018                 $         -1,396.54

              Number         Street
                                                                                                                             D Money market
              Columbus                        OH       79998                                                                 D Brokerage
              City                            State    ZIP Code
                                                                                                                             D Other

              Bank of America                                             xxxx-9 7 6 1
                                                                              --:-,---                                       iia' Checking                         09/19/2018                 $             - 803.43
              Name of Financial Institution                                    '




                                                                                                                             D Savings
              PO BOX 982284
              Number            Street                                                                                       D Money market
                                                                                                                             D Brokerage
              El Paso                         TX       79998                                                                 Dother_ _ __
              •City                           State    ZIP Code

     21. Do you now have, or did you have within 1 year before you fili~ for bankruptcy, any safe deposit box or other depository for
         sec~rities, cash, or other valuables?                        '
        iia' No
        D    V:es. Fill in the details.
                                                                          Who else had access t~ it?                                                                                                   j:   Do- y~~' stlll ·.
                                                                                                                                                _D_e_s_c_ri-be-th_e_c_o_n_te_n_t_s·---'------'--<I: !)av~ it'i' ..
                                                                                                                                            ',,_i


                                                                                                                                                                                                            0    No
               Name of Financial Institution                          Name
                                                                                                         I'                                                                                                 D    Yes


               Number           Street                                 Number      Street


                                                                       City          State                    ZIP Code

               City                            State   ZIP Code



    bfficial Form 107                                     Statement of Financial Affa,irs for Individuals Filing for Bankruptcy                                                                        ,Page9




                                                                                                         I;
                                 Case 8-18-76800-ast                              Doc 13                 Filed 10/26/18
                                                                                                         !I
                                                                                                                                                      Entered 10/26/18 14:44:25


                                                                                                         ;:
Debtor 1                  Frenny                                                               Mari~ho                                             Case number (if known)   8-18-76800-ast
                             First Name      Middle Name          - Last Name




                                                                                                         11
    22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
           lizl
          No                                                         :
           •      Yes. Fill in the details.
                                                                             I               - - .-
                                                                                                         \i
                                                                                                         1       i
                                                                             /Who _else has or had access to it?                                         Describe the:contents.
                                                                             :____       -     __. ___ : j-_             ·---------- -- --·-·
                                                                                                                 i
                    Name of Storage Facility                                 Name
                                                                                                                 '
                                                                                                                 :
                    Number         Street                                    Number          Street              :
                                                                                                                 I

                                                                                                                 I
                                                                                 City Stale ZIP Code             !

                    Cit}'.                        Stale    ZIP Code                                              I




•1:1•--·                       Identify Property You Hold or Control for Someone
                                                                           ,,    Else
    23. Do you hold or control any property that someone else ownsi Include any property you borrowed from, are storing for,
        or hold in trust for someone.                            !:
        ~~                                                       i

            •      Yes. Fill in the details.
                                                                        /                ·•:
                                                                                                          i:
                                                                                               . -- - - .,j •. - - --                                                                    - ·---          r.       ·-·-- - · -        -- •

                                                                        l vv_~ere. is !~l:. pro~ii,~y?                   _                                                                          .i, Value
                                                                                                                                                                                                     ' L , __ - ----·
                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                -- •.. --,




                    Owner's Name                                                                                                                                                                          $._ _ __

                                                                            Number       Street
                    Number          Street



                                                                            City                             I,              State      ZIP Code
                    City                          Stale     ZIP Code
                                                                                                             I

                               Give Details About Environmental lnformatl~~

     For the purpose of Part 10, the following definitions apply:                                            I!
     • Environmental law means any federal, state, or local statute       I'
                                                                                                          b}
                                                                             regulation concerning pollution, contamination, releases of
            hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
            including statutes or regulations controlling the cleanup of these substances, wastes, or material.
                                                                                                             I'
     11     Site means any location, facility, or property as defined under'.any environmental law, whether you now own, operate, or
            utilize it or used to own, operate, or utilize it, including disposal sites.
     111    Hazardous material means anything an environmental law d~fines as a hazardous waste, hazardous substance, toxic
            substance, hazardous material, pollutant, contaminant, or sirp,ilar term.
                                                                                                             i
     Report all notices, releases, and proceedings that you know abcitit, regardless of when they occurred.
                                                                                                             I;
     24. Has any governmental unit notified you that you may be liabl~ ~r potentially liable under or in violation of an environmental law?

            lizl   No
            •      Yes. Fill in the details.
                                                                                                                 :   .   -              --                                                   ·-··    -            --
                                                                                                                                                                                                     ; Pa,te of· notice
                                                                                                                                                                                                                  -·
                                                                            ..
                                                                            __~_:_:_~-~---:-,·-~-·.:_-"_-i__t '---------· 1: ,,,........., . ., ,_,,., ··~,                                                   i
                                                                                                                                                                                                              I

                                                                                                                                                                                                              '
                   Name of site


                   Number         Street                                    Number        Street
                                                                                                                                                                                                         I!   i

                                                                                                                                                                                                              I



                                                                            City                         Sfi!le              ZIP Code



                   City                          State     ZIP Code


'
iOfficial Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                           : page 10
                              Case 8-18-76800-ast                               Doc 13                  Filed 10/26/18                                       Entered 10/26/18 14:44:25
                                                                                                    'I
                                                                                                    I


                                                                                                    ,,
                                                                                                    I:
                                                                                                    I'


Debtor 1              Frenny                                                               Mari1ho                                                        Case number (if known)   8-18-76800-ast
                          First Name      Middle Name              Last Name                         I'
                                                                                                     iI
                                                                    I1
                                                                    II
    25. Have you notified any governmental unit of any release of h~1;ardous material?

       litf'.No
       •      Yes. Fill in the details.
                                                                                                        I I
                                                                                                        'I

                                                                       I   Governmental ~nl\-                           .                       ! j En~ii~n;~~t~~ la~ if-y~~ -k~o~ i~                           : ba;e of notice


               -N-am-e-of_s_lt_e_ _ _ _ _ _ _ _ _ _ _ /._G_ov_e_~-m-~-n-~-:--,,-it_-_
                                                                                   .. _LJ.:___•-_-_--_-_·_.._____                              ;r:-------•---~·----------'.1r•                                                                     -
                   Number        Street                                    Number      Street



                                                                           City                          late           ZIP Code
                                                                                                        !i
                   City                        State    ZIP Code                                        'I
                                                                                                        i:
                                                                                                        I'                                                                                                          '
    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and ord~rs.
                                                                                                         I                                                                                                          I
                                                                                                                                                                                                                    I

       liZI   No                                                                                         i    I


       •      Yes. Fill in the details.
                                                                           i
                                                                                                         i:
                                                                                                         I·
                                                                                                 .. 'TT ---~ .                             - --- - - j   r-·· --- - --- ---- ·- ---- -                          I of the
                                                                                                                                                                                              - ------- - --'. !~f~ius
                                                                           I Court or agency
                                                                           '·--··- -- - -
                                                                                                       I,
                                                                                                _· ___ L) ____              ..   __       -·-·---·
                                                                                                                                                      . , i Nature of the case
                                                                                                                                                     __ 1~,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _:Lcase. _____ ,_ ..... ...

              Case title_ _ _ _ _ _ _ _ _ _ __                                                                                                                                                                      i
                                                                                Court Name
                                                                                                                                                                                                                   •I
                                                                                                                                                                                                                                     Pending

                                                                                                                                                                                                                   [I]               On appeal
                                                                                                                                                                                                                        !
                                                                               . Number   Street                                                                                                                   [I]               Concluded
                                                                                                                                                                                                                    I
              Case number                                                       City                                   State          ZIP Code



                            Give Details About Your Business or Conn~ions to Any Business
    27. Within 4 years before you filed for bankruptcy, did you own a: business or have any of the following connections to any business?
            .
              •       A sole proprietor or self-employed in a trade, professio'n, or other activity, either full-time or part-time
                                                                                                                                      I
                                                                                                                                                                                                                        ·
              •       A member of a limited liability company (LLC) or .limitJJ
                                                                             , I liability partnership (LLP)
              •       A partner in a partnership                            Ii
              •.
                      An officer, director, or managing executive of a corpo~ation
                                                                             ,,
              •       An owner of at least 5% of.the voting or equity securities of a corporation
                                                                                                             I    I
       Gt( rilo. None of the above applies. Go to Part 12.                                                   !;                                                                                                             \I



       •      Yes. Check all that apply above and fill in the details beloJ..:for each business •
                                                                           i.. 'Describ_e
                                                                                - ---- ..... - - .. - 1-i- -- -· - - ··- - - -- - .. .. .
                                                                                              the naluf~ of tlie bl!siness                                              : i Empl9yer Identification number
                                                                                                                                                                                                                   ' 1·
                                                                                                                                                                                                                            J                      ,



                   Business Name
                                                                           I                                 1·

                                                                                                                  ,
                                                                                                                                      '

                                                                                                                                                                         ,   :::m•oa•••:oo~•"-]'••rn•,-
                   Number        Street                                                                 1                                             1
                                                                           <---N-a_m_e_o_i_a_c_co_u_n_ta
                                                                                                      __~ri,-o-r_b_o_o_k_ke_e_p_e-,-.- - - - - - - : ·[ Dates business existed                                               I·


                   City                        State    ZIP Code
                                                                           I                                 :,.~
                                                                                De~cribe the natuie: of the business
                                                                                                                                                                                                   T~-T
                                                                                                                                                                             Employer Identification number . / ·                         .    :

                   Business Name
                                                                                   ·                          I: -                                                           D_o n9t ini;lud_e S-oc;i11_ISe~ur~y nuf!lbler orlTJN,;


                                                                                                                          EIN:
                                                                                                                                                                                   -                                             !
                   Number        Street                                    <-----.-----,-i-:- - .- - - - - - - - - - -....
                                                                                Name of accountart or bookkeeper                                                        : ; Dales business existed




I

Official Form 107
                   City                         State   ZIP Code


                                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                                        I·-                         To


                                                                                                                                                                                                                                     page 11

                                                                                                                  I,


                                                                                                                  I
                                                                                                                  'I
                          Case 8-18-76800-ast                              Doc 13              Filed 10/26/18                           Entered 10/26/18 14:44:25


                                                                                               ''
                                                                                               Ii

Debtor 1           Frenny                                                             Mari~ho                                     Case number (if known)   8-18-76800-ast
                      First Name      Middle Name              Last Name                       I,
                                                                                               I
                                                                                               I'
                                                                                               1,
                                                                     !                         f I
                                                                     i ·Describe the natMe of th~ ·business-                               Employer Identification number ' i
                                                                     ,--l_ _ _· - - - ; - '         ' ; - . - - - - - - - - - - - - _ , - D o not includ_e Social Security nun\ber or ITIN.


                                                                                                                                                                              !---
               Business Name

                                                                    I                          :0                                                 EIN,        -----
               Number        Street
                                                                                                                                    ~--~:!. :
                                                                     1·!_N_a_m_e_o_i_a_c_c_ou_n_ta-:-i,_;_o_r_b_o_o_k_k_ee_p_e_r_ _ _                      bus~i.;,::-_··__ \
               City                        State    ZIP Code


                                                                                                                                                                               I

                                                                                               I'                                                                              I

    28. Within 2 years before you filed for bankruptcy, did you give                          J financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.
                                                                                               1


                                                                                                1
                                                                                                                                                                               i
                                                                                                I


       i ZI   No
       D      Yes. Fill in the details below.
                                                                                                H-
                                                                         Date. i~sued           1 :.
                                                                                                Li
                                                                                                11
                                                                                                     -
                                                                                                I;
                                                                                                I!
               Name                                                      MM/DD/YYYY
                                                                                                1,



               Number        Street
                                                                                                   I,
                                                                                                    :'

                                                                                                    ; I
               City                        State    ZIP Code




1•~· • - - ~          Sign Below
                                                                                                         I
         I have read the answers on this Statement of Financial Affa,f~ and any attachments, and I declare under penalty of perjury that the
         answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
                                                                                                    to
         in connection with a bankruptcy case can result in fines up $250,000, or imprisonment for up to 20 years, or both.            ·
         18 U.S.C. §§ 152, 1341, 1519, and 3571.                                                     -




         xdb   ,Signature of Debtor 1
                                                                                          JC:       1I
                                                                                                         I




                                                                                               Signature of Debtor 2
                                                                                                    I
                                                                                                     I I
                                                                                                    1,
                                                                                                9~te _ _ _ _ __
                                                                                                    i'
         Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
                                                                                                     '                                                                             '
         ltf: No
         D      Yes                                                                                  I'
                                                                                                     '
                                                                                                     I·
         Did you pay or agree to pay someon~ who is not an attorneyltp help you fill out bankruptcy forms?
         ~'No                                              1!
         D Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _-'-:- - - - - - - - ~ - Attach the Bankruptcy Petition Preparer'~ Notice,
                                                                                  Declaration, and Signature (Official Form 119).




'pfficial Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                             page 12

I
                           Case 8-18-76800-ast                    Doc 13               Filed 10/26/18                      Entered 10/26/18 14:44:25

                                                                                       iiI,
Fill in this information to identify your case:
                                                                                I
:Debtor 1            Frenny                                                Maria'rio
                     FilstName                  M!ddle Name                LastNamel ,
                                                                                       11
Debtor2
JSpouse, iffiling)   First Name                 Middle Name                Last Name
                                                                                       i
·united States Bankruptcy Court for the: Eastern District of New York
I
'case number         8-18-76800-ast
                                                                      .
                                                                                                                                                                    •      I           ,
                                                                                                                                                                          Check if this is an
l(lfknown)                                                                                                                                                                 I          '
                                                                                                                                                                          amended fi!ing
                                                                                        \I
                                                                                        I
                                                                                        I'
                                                                                              !


    Official Form 108             I:
    Statement of Intention for lnd,~iduals Filing Under Chapter ~                                                                                                                    12/15
                                                                                        11
    If you are an individual filing under chapter 7, you must fill out this form if:
    • creditors have claims secured by your property, or                 !:
    • you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you filJ ~our bankruptcy petition or by the date set for the meeting of creditors,
    whichever is earlier, unless the court extends the time for cause. [1ou must also send copies to the creditors and lessors you list ~n the form.
    If two married people are filing together in a joint case, both are equally responsible for supplying correct information.                                              i
                                                                         I'                                                                                                 '
    Both debtors must sign and date the form.                            I1
                                                                                           '!                                                                               '
    Be as complete and accurate as possible. If more space is neede~, attach a separate sheet to this form. On the top of any addition~! pages,
    write your name and case number (if known).                    1:                                                                 1



                      List Your Creditors Who Have Secured Claims I, I1                                                                                                     I
        1·. For any creditors that you listed in Part 1 of Schedule D: CreMtors Who H~ve Claims Secured by Property(Official Form 106D), fill in the
            information below.                                            11                                                          I             ·
             ------- -- ---- -------- ------ -----· -----. -- ------ ---- ... , ;· ..... ··----- .... --:.· ·--:- .... -- ._......... ------------ .. --------- -· -;       r·------ --,----
           f Identify the creditor and the property that is-collateral   · !!          What do you intend to do with the property that                    Did you claim the property
           l --~ _· _____ __ _ ____________ . ___ ...... __ ......... ______ !; __
                                                                                 _:i~c~!~~ ~ ,d~b!?.. :. _____ :                    ___ : _________________a_s_~x~'._'l~tJn -~ch.8_~~1e        ~?-
           Creditor's
           name:
                                        .
                            Bank of Amenca
                                                                                                      D Surrender the property.                               •     No
                                                                                                      D Retain the property and redeem it.                    lii"Yes
           Description of 149 Haig Rd Primary Residence                                               D Retain the property and enter into a
           property                  ,
           securing debt:                                                                                Reaffirmation Agreement.                    .
                                                                                                      ~etain the property and [explain]:      (ft"\~ nv ~
                                                                                                         making payments
                                                                                            i'
           Creditor's
            name:
           .:..:.::::c.:..:c.:..-.. Chase Bank
                                   ___________________,. . ,., D
                                                                                                      D Surrender the property.
                                                                                                         Retain the property and redeem it.
                                                                                                                                                              •     No
                                                                                                                                                              Iii" Yes
           Description of 149 Haig Rd Primary Residence                                       1
                                                                                                      D Retain the property and enter into a
           property
                                                                                                         Reaffirmation Agreement.                        _
           securing debt:
                                                                                                      W'Retain the property and [explain]:    Con"+\ Y)\.,{ ".'
                                                                                                         making payments
                                                                                              '!
                                                                                              I'

           Creditor's               .                                                                 D Surrender the property.                                D    No
           name:            Toyota Finance                                                    ,,                                                               ne
           .:..:.::::c.:..:c.:..-..---=-----------------.,...1i D                                        Retain the property and redeem it.                    ~ Yes
          ' Des~ription of Toyota highlander 2013
            .property
                                                                                                  :   D Retain the property and enter into a
             secu'ring debt:                                                                      '      Reaffirmation Agreement.                        l
                                                                                                      11rRetain the property and [explain]:   WY\:::H.)'VJ.. ~
                                                                                                         l'{Y\0.,'\Gvv\;

           Creditor's
           name:
                                               D Surrender the property.                                                                                      •     No
           ~:.:.:.;:.'----------------------,, D Retain the property and redeem it.
           Description of
                                                                                                                                                              •     Yes

           property
                                               D Retain the property and enter into a
            securing debt:                                                                               Reaffirmation Agreement.
                                                                                                      D Retain the property and [explain]: _ _ __

    i
    Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                                           page 1
                         Case 8-18-76800-ast                         Doc 13            Filed 10/26/18              Entered 10/26/18 14:44:25


                                                                                      I    I

    Debtor1           Frenny                                                       Mari.ano                      Case number (If known)_B_-_1_8_-7
                                                                                                                                                __ 68_0_0_-a_s_t__-'-------
                     First Name          Middle Name     Last Name
                                                                                       !:
                                                                                       I
                                                                                       11

    ••.r;,-::        List Your Unexpired Personal Property Leas~i
                                                                                       I


      For any unexpired personal property lease that you listed in sd~edule G: Executory Contracts and Unexpired Leases (Official Form 1 OGG),
      fill in the information below. Do not list real estate leases. Unelpired leases are leases that are still in effect; the lease period has not yet
      ended; You may assume an unexpired personal property leaselif the trustee does not assume it. 11 U.S.C. § 365(p)(2).                    I
                                                                                       I'
           I-~-;~;r;~~~:~;-;~~_x!3~r~d ~:;;~;~1:~?;;~~j;~:s           -~~ --~ -·      ;-r._ -·: -~ . -:_-· - . . -. ~--:~ --__: ---_--_-_ .   _;i0h; le~~:_b~   ~~~L-~:~;_-~-:-~- _
           Lessor's name:
                                                                                                                                              •   No

           Description of leased                                                                                                              •   Yes
           property:


I          Lessor's name:
                                                                                                                                              •   No
I
I
I
           Description of leased
                                                                                                                                              •   Yes
           property:
:

I
:
           Lessor's name:
                                                                                                                                              •   No
!          Description of leased                                                                                                              •   Yes              i
           property:
                                                                                                                                                                   I
I
                                                                                                                                                                   I
;          Lessor's name:                                                                                                                     •   No
                                                                                                                                              •   Yes
           Description of leased
           property:


           Lessor's name:                                                                                                                     •   No

           Description of leased
                                                                                                                                              •   Yes

           property:


            Lessor's name:                                                                                                                    •   No

            Description of leased
                                                                                                                                              •   Yes
            property:


            Lessor's name:                                                                                                                    0   No

            Description of leased
                                                                                                                                              •   Yes

            property:




    •ate             Sign Below
                                                                                               i~
                                                                                               I11
                                                                                               I
                                                                                                   1




                                                                                               ii
                                                                                               I
                                                                                                                                                                       :
                                                                                                                                                                       '
         ·under penalty of perjury, I declare that I have indicated my int~ntion about any property of my estate that secures a debt and any
         personal p operty that is subject to an unexpired lease.         i                                                                [

                                                                          jC
           Signature of Debtor 1                                                   Signat~re of Debtor 2


            Date   \D lz')l l«                                                     Date-'-:_ _ _ _ _ __
                                                                                           MM/ DD/     YYYY
                   MM/ DD     /   YYYY




    Qfficial Form 108                                  Statement of Intention          for Individuals Filing Under Chapter 7                                   page2
